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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

   GWACS ARMORY, LLC                                     )
                                                         )
                                  Plaintiff,             )
                                                         )
   v.                                                    )
                                                         )       Case No.:20-cv-0341-CVE-SH
   KE ARMS, LLC, RUSSELL PHAGAN,                         )       BASE FILE
   SINISTRAL SHOOTING                                    )
   TECHNOLOGIES, LLC, BROWNELLS,                         )       Consolidated with:
   INC., and SHAWN NEALON,                               )       Case No. 21-CV-0107-CVE-JFJ
                                                         )
                                  Defendants.            )
   and                                                   )
                                                         )
   KE ARMS, LLC,                                         )
                                  Plaintiff,             )
   v.                                                    )
   GWACS ARMORY, LLC, GWACS                              )
   DEFENSE INCORPORATED, JUD                             )
   GRUDEL, RUSSEL ANDERSON, DOES I                       )
   through X, and ROE CORPORATIONS I                     )
   through X,                                            )
                         Defendants.                     )


         DECLARATION OF SHAWN NEALON IN SUPPORT OF HIS MOTION FOR
                           SUMMARY JUDGMENT

          Shawn Nealon, declares as follows:


          1.      I am over the age of 18 years and have personal knowledge of the facts stated

   herein, except for those stated upon information and belief, and as to those, I believe them to be

   true. I am competent to testify as to the facts stated herein in a court of law and will so testify if

   called upon.

          2.      I am currently the owner of Cavalry Medical, LLC, a company based in Arizona.


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          3.      In the early 2000s, I started a company called Cavalry Arms Corporation

   (“Cavalry”). Cavalry’s main product was a semi-automatic rifle called the CAV-15, which Russell

   Phagan (“Phagan”) and a number of other Cavalry employees helped design, manufacture, and

   assemble. Phagan later became the vice president of Cavalry.

          4.      One of the features of the CAV-15 was its lower receiver.1 The lower receiver on

   the CAV-15 was made of polymer which made it comparatively lighter than standard semi-

   automatic rifles that are traditionally made of wood of metal alloy, such as aluminum. The lower

   receiver on the CAV-15 was also monolithic, meaning the entire lower receiver, including its

   stock, grip, and magazine well, were all one piece.

          5.      Cavalry openly shared all its information related to the manufacturing techniques,

   processes, and designs on its website and with customers. Over the course of Cavalry’s existence,

   every piece of information related to the production, manufacture, and design of the CAV-15 and

   its lower receiver was publicly disclosed. Cavalry did this, in part, because customers were

   generally leery of the use of polymer in firearms and transparency helped alleviate concerns.

          6.      Cavalry’s first polymer lower receiver was called the CAV-15, which was later

   retroactively named the MKI (“MKI”). The MKI was inspired by other polymer rifles available

   at the time, including the Colt polymer lower receiver rifle developed in the late 1960s, and the

   Steyr Aug bullpup semi-automatic rifle. Cavalry later developed an improved iteration or
   derivative of the MKI which was called the CAV-15 MKII (“MKII”). Cavalry’s final iteration of

   the CAV-15 was called the MKIII (the “MKIII”), but the MKIII just a prototype and was never

   manufactured due to issues Cavalry had with its federal firearms license.


   1
     In firearms terminology, the receiver is the part of a firearm which integrates other components
   by providing housing for internal action components such as the hammer, bolt or breechblock,
   firing pin and extractor, and has threaded interfaces for externally attaching (also known as
   receiving) components such as the barrel, stock, trigger mechanism and iron/optical sights. The
   receiver is often made of forged, machined, or stamped steel or aluminum; in addition to these
   traditional materials, modern science and engineering have introduced polymers and sintered metal
   powders to receiver construction.

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          7.      To my knowledge, Cavalry never registered any patents, trademarks, and

   copyrights for the CAV-15, the MKI, the MKII, or the MKIII.

          8.      In early 2010, Cavalry ceased operations, surrendered its Federal Firearms License

   (“FFL”), and began selling off all of its assets.

          9.      On or about March 3, 2010, Cavalry and Phagan, through his entity Sinistral

   Shooting Technologies, LLC (“SST”), entered into an asset purchase agreement (the “Cavalry-

   SST APA”). Exhibit 1 is a true and correct copy of the Cavalry-SST APA. The assets that Cavalry

   sold SST are expressly defined in the agreement. See id. The Cavalry-SST APA does not expressly

   contain any intellectual property, design prints, or CAD/CAM files. See id.

          10.     Around this time, Cavalry’s former operations manager, Christian Capello, started

   Cavalry Manufacturing, LLC (“Cavalry Mfg.”). On or about June 18, 2010, Cavalry Mfg. entered

   into an agreement of sale (the “Cavalry IP Agreement”). Exhibit 2 is a true and correct copy of

   the Cavalry IP Agreement. Under this Cavalry IP Agreement, Cavalry sold to Cavalry Mfg.:


                  All of the intangible property of [Cavalry], including but not
                  limited to [Cavalry’s]... intellectual property rights, know-how,
                  trade secrets, confidential information, software, business and
                  financial records, supplier and distribution lists and marketing
                  material, price lists, catalogs and marketing material, price lists,
                  technical information, trade information, consulting plans, and
                  every other item of intangible personal property owned, licensed,
                  leased, or held through any other means or rights by [Cavalry] and
                  used in [Cavalry]’s business including, without limitation, … The
                  names “Calvary Arms,” “Cavalry Arms” and “Cavalry
                  Manufacturing.


   See id., at Article 1.1 (emphasis added).

          11.     A few years later, I found out that SST had sold some manufacturing equipment

   related to the CAV-15 to GWACS Armory, LLC (“Armory”). I don’t recall the specific date that

   I found out about that sale. However, on February 14, 2012, through my new entity, Cavalry

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   Medical LLC (“Cavalry Medical”), I wrote a letter to Armory generally congratulating them on

   the sale. Exhibit 3 is a true and correct copy of a letter of the letter I wrote a letter to Armory dated

   February 14, 2012. As stated in the letter, my understanding is that Armory had purchased

   manufacturing equipment to the CAV-15, specifically the “molds, welder, and press.” Id. In the

   letter, I volunteered all of my knowledge and experience related to the CAV-15 aluminum tooling

   and molds. Id. Armory never responded to the letter. See id.

           12.     In early 2016, I found some boxes containing an old thumb drive and various

   firearm “blue prints” at my house (the “Nealon Files”). At the time, I didn’t know the exact content

   of the digital Nealon Files as I no longer had the software needed to even open them. As the

   inventor of the CAV-15, I believed then, and still believes now, that the Nealon Files did not

   contain any protectable intellectual property. Anything that might have been protectable at the time

   was shared with the world on blogs, forums, trade shows, and Cavalry’s own website. I shared

   these Nealon files with lots of firearm enthusiasts and businesses that might have an interest,

   including KE Arms, LLC (“KEA”).

           13.     On or about February 25, 2016, Cavalry Medical sold KEA two (2) boxes of

   assorted “Blue prints” and “one thumb drive of assorted CAD/CAM files” from the Nealon Files.

   Exhibit 4 is a true and correct copy of the letter between Calvary Medical and KEA dated February

   25, 2016.
           14.     On July 15, 2020, Armory filed its Complaint against me personally for (1)

   misappropriation of trade secrets, and (2) misappropriation of intellectual property. Armory did

   not give me notice that it was going to sue me. As a result of Armory’s Complaint, I was forced to

   retain an attorney to defend myself.

           15.     On or about October 7, 2021, I had my attorneys serve an offer of judgment on

   Armory. I made this offer because this lawsuit has been especially stressful for me and my family

   because I am caring for my wife who, unfortunately, is still battling with cancer.



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         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on this 18th day of July, 2022.




                                                        Shawn Nealon




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          APPENDIX OF EXHIBITS TO DECLARATION OF SHAWN NEALON


                     EXHIBIT NO.          DOCUMENT DESCRIPTION

                          1                2010-03-22 Cavalry-SST Asset
                                                Purchase Agreement
                                          2010-06-18 Agreement of Sale
                                          between Calvary Arms Corp and
                          2
                                          Cavalry Manufacturing, LLC

                                          2016-02-25 Letter from The
                                          Tactical Medic to KE Arms re
                          3               Delivery of Blue Prints and
                                          Thumb Drive

                                          2012-02-14 Letter from Nealon
                                          to GWACS re Equipment for the
                          4
                                          CAV-15




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              Exhibit 1
    2010-03-22 Cavalry-SST Asset
        Purchase Agreement
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                           ASSET PURCHASE AGREEMENT



                                    by and among



                      SINISTRAL SHOOTING TECHNOLOGIES, LLC
                           an Arizona limited liability company



                                        and



                           CALVARY ARMS CORPORATION
                               an Arizona corporation



                                        and



                      SHAWN M. NEALON and NICOLE G. NEALON



                                As of MAY   3   2010




                                                                     KEA000001
                                                                     KEA000001
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                                    ASSET PURCHASE AGREEMENT

                THIS ASSET PURCHASE AGREEMENT (this "Agreement"), dated as of April
               , 2010, is made and entered into by and among SINISTRAL SHOOTING
        TECHNOLOGIES, LLC, an Arizona limited liability company (the "Purchaser"),
        CALVARY ARMS CORPORATION, an Arizona corporation (the "Company"), and
        SHAWN M. NEALON and NICOLE G. NEALON (together the "Shareholders"). The
        corporate entity, Calvary Arms Corporation is included herein to the extent that it holds
        legal or equitable title, if any, to the Assets defined in Section 2.1 that are subject to this
        Asset Purchase Agreement. The Company and the Shareholders are sometimes
        individually referred to herein as a "Seller" and collectively as the "Sellers". The
        Purchaser, the Company and the Shareholders are sometimes individually referred to
        herein as a "Party" and collectively as the "Parties".

                                            WITNESSETH:

               WHEREAS, the Seller is engaged in the business of serving as a retailer of
        certain non-firearms and non-ammunition goods and services related thereto (the
        "Business") at 723 W. Commerce, Suite A, Gilbert, AZ 85233; and

                WHEREAS, the Parties desire to enter into this Agreement pursuant to which the
        Seller proposes to sell to the Purchaser, and the Purchaser proposes to purchase from
        the Seller (the "Acquisition"), certain injection molds used or held for use by the Seller in
        the conduct of its business as a going concern without the assumption of the liabilities
        and obligations of the Sellers;

              WHEREAS, the Parties desire to make certain representations, warranties and
        agreements in connection with the Acquisition;

               NOW, THEREFORE, in consideration of the foregoing and the respective
        representations, warranties, covenants, agreements and conditions hereinafter set forth,
        and intending to be legally bound hereby, each Party hereby agrees as follows:

                                            ARTICLE I
                                     CONSTRUCTION; DEFINITIONS

               Section 1.1      Definitions. Unless the context of this Agreement clearly requires
        otherwise, (a) references to the plural include the singular, and references to the singular
        include the plural, (b) references to any gender include the other genders, (c) the words
        "include," "includes" and "including" do not limit the preceding terms or words and shall
        be deemed to be followed by the words "without limitation", (d) the terms "hereof',
        "herein", "hereunder", "hereto" and similar terms in this Agreement refer to this
        Agreement as a whole and not to any particular provision of this Agreement, (e) the
        terms "day" and "days" mean and refer to calendar day(s) and (f) the terms "year" and
        "years" mean and refer to calendar year(s). Unless otherwise set forth herein,
        references in this Agreement to (a) any document, instrument or agreement (including
        this Agreement) (i) includes and incorporates all exhibits, schedules and other
        attachments thereto, (ii) includes all documents, instruments or agreements issued or
        executed in replacement thereof and (iii) means such document, instrument or
        agreement, or replacement or predecessor thereto, as amended, modified or
        supplemented from time to time in accordance with its terms and in effect at any given
        time, and (b) a particular Law (as hereinafter defined) means such Law as amended,
        modified, supplemented or succeeded, from time to time and in effect at any given time.
                                                      1


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        All Article, Section, Exhibit and Schedule references herein are to Articles, Sections,
        Exhibits and Schedules of this Agreement, unless otherwise specified. This Agreement
        shall not be construed as if prepared by one of the Parties, but rather according to its fair
        meaning as a whole, as if all Parties had prepared it.

                Section 1.2    Definitions.   The following terms, as used herein, have the
        following meanings:

                              "ATF" means the United States Department of Justice Bureau of
        Alcohol, Firearms, Tobacco and Explosives.

                                "Affiliate" of any specified Person means any other Person directly
        or indirectly Controlling or Controlled by or under direct or indirect common Control with
        such specified Person.

                             "Business Day" means any day except Saturday, Sunday or any
        day on which banks are generally not open for business in the City of Phoenix, Arizona.

                             "Claims Period" means the period during which a claim for
        indemnification may be asserted hereunder by an Indemnified Party.

                              "Closing" means the consummation of the transactions
        contemplated by Article II.

                               "Closing Date" means the date on which the Closing occurs.

                               "Company Ancillary Documents" means any certificate,
        agreement, document or other instrument, other than this Agreement, to be executed
        and delivered by any Seller or an Affiliate thereof other than any Shareholder in
        connection with the transactions contemplated hereby.

                           "Company Indemnified Parties" means each Seller, each
        Shareholder and their respective officers, directors, employees, agents and
        representatives and the heirs, executors, successors and assigns of any of the
        foregoing.

                               "Confidential Information" means any data or information of any
        Seller (including trade secrets) that is valuable to the operation of the Business and not
        generally known to the public or competitors.

                              "Control" means, when used with respect to any specified Person,
        the power to direct the management and policies of such Person, directly or indirectly,
        whether through the ownership of voting securities, by contract or otherwise.

                             "Governmental Entity" means any federal, state or local or foreign
        government, any political subdivision thereof or any court, administrative or regulatory
        agency, department, instrumentality, body or commission or other governmental authority
        or agency, domestic or foreign.

                           "Indemnified Party" means a Purchaser Indemnified Party or a
        Company Indemnified Party.




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                              "Knowledge" with respect to any Seller means (a) all facts known
       by any officer or director of any Seller or any Shareholder or those additional individuals
       listed on Exhibit 1.2(b) on the date hereof following due inquiry and diligence with
       respect to the matters at hand and (b) all facts that any of the foregoing Persons should
       have known with respect to the matters at hand if such Person had made due inquiry
       and exercised reasonable diligence.

                              "Laws"
                              -Laws" means all statutes, rules, codes, regulations, restrictions,
       ordinances, orders, decrees, approvals, directives, judgments, injunctions, writs, awards
       and decrees of, or issued by, all Governmental Entities.

                            "Legal Dispute" means any action, suit or proceeding between or
       among the Parties and their respective Affiliates arising in connection with any
       disagreement, dispute, controversy or claim arising out of or relating to this Agreement or
       any related document.

                             "Licenses" means all notifications, licenses, permits (including
       environmental, construction and operation permits), franchises, certificates, approvals,
       exemptions, classifications, registrations and other similar documents and authorizations
       issued by any Governmental Entity, and applications therefor.

                              "Liens" mean all mortgages, liens, pledges, security interests,
       charges, claims, restrictions and encumbrances of any nature whatsoever.

                                "Material Adverse Effect" means any state of facts, change, event,
       effect or occurrence (when taken together with all other states of fact, changes, events,
       effects or occurrences) that the Purchaser believes is or may reasonably likely to be
       materially adverse to the financial condition, results of operations, prospects, properties,
       assets or liabilities (including contingent liabilities) of the Sellers, the Business or the
       Assets taken as a whole. A Material Adverse Effect shall also include any state of facts,
       change, event or occurrence that shall have occurred or been threatened that (when
       taken together with all other states of facts, changes, events, effects or occurrences that
       have occurred or been threatened) the Purchaser believes is or would be reasonably
       likely to prevent or materially delay the performance by any Seller or any Shareholder of
       its obligations hereunder or the consummation of the transactions contemplated hereby.

                             "Noncompete Period" means the period beginning on the Closing
       Date and continuing for a period of five years from the Closing Date.

                               "Person" means any individual, corporation, partnership, joint
       venture, limited liability company, trust, unincorporated organization or Governmental
       Entity.

                             "Purchaser Ancillary Documents" means any certificate,
       agreement, document or other instrument, other than this Agreement, to be executed
       and delivered by the Purchaser in connection with the transactions contemplated hereby.

                                "Purchaser Indemnified Parties" means the Purchaser and its
       Affiliates, their respective officers, directors, employees, agents and representatives and
       the heirs, executors, successors and assigns of any of the foregoing.

                              "Release" means, with respect to any Hazardous Material, any
       spilling, leaking, pumping, pouring, emitting, emptying, discharging, injecting, escaping,




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                                                                                              KEA000006
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        leaching, dumping or disposing into any surface or ground water, drinking water supply,
        soil, surface or subsurface strata or medium, or the ambient air.

                              "Shareholder Ancillary Documents" means any certificate,
        agreement, document or other instrument, other than this Agreement, to be executed
        and delivered by the Shareholders or any Affiliate of one or more Shareholders in
        connection with the transactions contemplated hereby (including the Real Estate
        Agreements relating to the business of the Sellers).

                               "Taxes" means all taxes, assessments, charges, duties, fees,
        levies and other governmental charges, including income, franchise, capital stock, real
        property, personal property, tangible, withholding, employment, payroll, social security,
        social contribution, unemployment compensation, disability, transfer, sales, use, excise,
        gross receipts, value-added and all other taxes of any kind for which any Seller may
        have any liability imposed by any Governmental Entity, whether disputed or not, and any
        charges, interest or penalties imposed by any Governmental Entity.

                             "Termination Date" means the date prior to the Closing when this
        Agreement is terminated in accordance with Article IX.

                               "Territory" means the State of Arizona.

                                             ARTICLE II
                                         PURCHASE AND SALE

                Section 2.1    Agreement to Purchase and Sell. Subject to the terms and
        conditions hereof, at the Closing and except as otherwise specifically provided in this
        Article II, each Seller, in consideration for the payment of the Purchase Price in
        accordance with Section 3.2, shall grant, sell, assign, transfer and deliver to the
        Purchaser, and the Purchaser shall purchase and acquire from such Seller, all right, title
        and interest of such Seller in and to the Assets listed in Section 2.2 (which assets,
        properties and rights are collectively referred to herein as the "Assets"), free and clear of
        all Liens.

               Section 2.2    Assets. Except as otherwise expressly set forth in Section 2.3, the
        Assets shall include the following assets, properties and rights of each Seller as of the
        close of business on the Closing Date:

                       (a) One (1) CAV-15 MKI I cores and cavities;


                       (b) One (1) CAV-15 MKI cores and cavities;


                       (c) One (1) CAV-15 mold base;


                       (d) One (1) CAV-15 linear vibration welding resin base fixtures;


                      (e) all of Seller's CAV-15 drilling fixtures; all CAV-15 specific hand tools;
               all CAV-15 specific nuts, bolts, screws, roll pins: all CAV-15 front and rear pivot;
               take down pins; all CAV-15 serial number tags;

                                                     4


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                      (f) all Licenses for the above described assets to the extent that they are
               assignable, including those set forth on Schedule 4.1;

                     (g) all records required to be kept on the above described assets
               pursuant to parts 447, 478, and, 479 of C.F.R. title 27.

                Section 2.3    Excluded Assets. Notwithstanding anything to the contrary set
        forth herein, the Assets shall not include any assets not listed in Section 2.2 nor shall the
        Purchase assume any liabilities of (collectively, the "Excluded Assets"):

                Section 2.4    Assumption of Liabilities.     The Purchaser shall not assume, in
        connection with the transactions contemplated hereby, any liability or obligation of any
        Seller whatsoever, and the Sellers shall retain responsibility for all liabilities and
        obligations accrued as of or on the Closing Date and all liabilities and obligations arising
        from the Sellers' operations prior to or on the Closing Date, whether or not accrued .

                                         ARTICLE III
                         PURCHASE PRICE; ADJUSTMENTS; ALLOCATIONS

                Section 3.1  Purchase Price. Subject to adjustment and to the indemnification
        obligations under Section 10.1, the aggregate amount to be paid for the Assets (the
        "Purchase Price") shall be the outstanding number of shares of stock which is owned by
        Purchaser in the Company which is four (4%) of the outstanding shares of Company (the
        "Company Shares").

                Section 3.2 Payment of Purchase Price. On the Closing Date, the Purchaser
        shall endorse in blank the Company Shares for the benefit of the Sellers.

                                   ARTICLE IV
           REPRESENTATIONS AND WARRANTIES OF SELLERS AND SHAREHOLDERS

                Sellers and the Shareholders hereby represent and warrant to the Purchaser as
        follows as of the date hereof and the Closing Date:

               Section 4.1     Organization.

                       (a) The Seller is a corporation duly formed and validly existing under the
               Laws of the jurisdiction set forth in the introductory paragraph hereof and has all
               requisite power and authority to own, lease and operate its properties and to
               carry on its business as now being conducted. Each Seller is duly qualified or
               registered as a foreign corporation to transact business under the Laws of each
               jurisdiction where the character of its activities or the location of the properties
               owned or leased by it requires such qualification or registration. Each Seller has
               heretofore made available to the Purchaser true, correct and complete copies of
               its charter documents as currently in effect and its corporate record books with
               respect to actions taken by its shareholders and board of directors. Schedule 4.2
               contains a true and correct list of the jurisdictions in which each Seller is qualified
               or registered to do business as a foreign corporation.

               Section 4.2     Authorization.

                       (a) Each Shareholder has the right, power and capacity to execute and
               deliver this Agreement and each Shareholder Ancillary Document which such

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               Shareholder is a party to and to perform its obligations hereunder and thereunder
               and to consummate the transactions contemplated hereby and thereby. This
               Agreement has been, and the Shareholder Ancillary Documents shall be as of
               the Closing Date, duly executed and delivered by each Shareholder and do or
               shall, as the case may be, constitute the valid and binding agreements of each
               Shareholder, enforceable against each Shareholder in accordance with their
               respective terms, subject to applicable bankruptcy, insolvency and other similar
               Laws affecting the enforceability of creditors' rights generally, general equitable
               principles and the discretion of courts in granting equitable remedies.

                       (b) Each Seller has full power and authority to execute and deliver this
               Agreement and the Company Ancillary Documents and to perform its obligations
               hereunder and thereunder and to consummate the transactions contemplated
               hereby and thereby. The execution and delivery of this Agreement and the
               Company Ancillary Documents by each Seller and the performance by each
               Seller of its obligations hereunder and thereunder and the consummation of the
               transactions provided for herein and therein have been duly and validly
               authorized by all necessary board and shareholder action on the part of each
               Seller. The board of directors and shareholders of each Seller has approved the
               execution, delivery and performance of this Agreement and the Company
               Ancillary Documents and the consummation of the transactions contemplated
               hereby and thereby. This Agreement has been, and the Company Ancillary
               Documents shall be as of the Closing Date, duly executed and delivered by each
               Seller and do or shall, as the case may be, constitute the valid and binding
               agreements of each Seller, enforceable against each Seller in accordance with
               their respective terms, subject to applicable bankruptcy, insolvency and other
               similar Laws affecting the enforceability of creditors' rights generally, general
               equitable principles and the discretion of courts in granting equitable remedies.

                Section 4.3     Absence of Restrictions and Conflicts. The execution, delivery
        and performance of this Agreement, the Shareholder Ancillary Documents and the
        Company Ancillary Documents, the consummation of the transactions contemplated
        hereby and thereby and the fulfillment of and compliance with the terms and conditions
        hereof and thereof do not or shall not (as the case may be), with the passing of time or
        the giving of notice or both, violate or conflict with, constitute a breach of or default
        under, result in the loss of any benefit under, permit the acceleration of any obligation
        under or create in any party the right to terminate, modify or cancel, (a) any term or
        provision of the charter documents of any Seller, (b) any judgment, decree or order of
        any Governmental Entity to which any Seller or any Shareholder is a party or by which
        any Seller or any Shareholder or any of their respective properties are bound or (c) any
        Law or arbitration award applicable to any Shareholder or the Business. Subject to the
        terms of this Agreement, no consent, approval, order or authorization of, or registration,
        declaration or filing with, any Governmental Entity is required with respect to any Seller
        or any Shareholder in connection with the execution, delivery or performance of this
        Agreement, the Shareholder Ancillary Documents or the Company Ancillary Documents
        or the consummation of the transactions contemplated hereby or thereby.

                Section 4.4   Title to Assets; Related Matters. Sellers have (and shall convey to
        the Purchaser at the Closing) good and marketable title to the Assets, free and clear of
        all Liens. All equipment and other items of tangible personal property and assets
        included in the Assets (a) are in good operating condition and in a state of good
        maintenance and repair, ordinary wear and tear excepted, (b) were acquired and are
        usable in the regular and ordinary course of business and (c) conform to all applicable
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        Laws. No Seller has Knowledge of any defect or problem with any Asset, other than
        ordinary wear and tear.

               Section 4.5     Licenses.

                        (a) Schedule 4.1 is a true and complete list of all Licenses held by any
        Seller. The Sellers own or possess all Licenses that are necessary to enable it to carry
        on the Business as presently conducted. All Licenses are valid, binding and in full force
        and effect. The execution, delivery and performance hereof and the consummation of
        the transactions contemplated hereby shall not adversely affect any License. The
        Sellers have taken all necessary action to maintain each License, except where the
        failure to so act shall not have an adverse effect on any Seller or the Business. No loss
        or expiration of any License is threatened, pending or reasonably foreseeable (other than
        expiration upon the end of any term).

                Section 4.6      Ethical Practices. No Seller nor any representative thereof has
        offered or given, and no Seller has any Knowledge of any Person that has offered or
        given on its behalf, anything of value to: (a) any official of a Governmental Entity, any
        political party or official thereof or any candidate for political office; (b) any customer or
        member of any Governmental Entity; or (c) any other Person, in any such case while
        knowing or having reason to know that all or a portion of such money or thing of value
        may be offered, given or promised, directly or indirectly, to any customer or member of
        any Governmental Entity or any candidate for political office for the purpose of the
        following: (x) influencing any action or decision of such Person, in such Person's official
        capacity, including a decision to fail to perform such Person's official function; (y)
        inducing such Person to use such Person's influence with any Governmental Entity to
        affect or influence any act or decision of such Governmental Entity to assist any Seller in
        obtaining or retaining business for, with, or directing business to, any Person; or (z)
        where such payment would constitute a bribe, kickback or illegal or improper payment to
        assist any Seller in obtaining or retaining business for, with, or directing business to, any
        Person.

                                       ARTICLE V
                      REPRESENTATIONS AND WARRANTIES OF PURCHASER

              The Purchaser hereby represents and warrants to each Seller and each
        Shareholder as follows:

                Section 5.1    Organization. The Purchaser is a limited liability company duly
        organized, validly existing and in good standing under the laws of the jurisdiction set
        forth in the introductory paragraph hereof as its jurisdiction of incorporation and has all
        requisite corporate power and authority to own, lease and operate its properties and to
        carry on its business as now being conducted.

                Section 5.2     Authorization. The Purchaser has full corporate power and
        authority to execute and deliver this Agreement and the Purchaser Ancillary Documents,
        to perform its obligations hereunder and thereunder and to consummate the transactions
        contemplated hereby and thereby. The execution and delivery of this Agreement and
        the Purchaser Ancillary Documents by the Purchaser, the performance by the Purchaser
        of its obligations hereunder and thereunder, and the consummation of the transactions
        provided for herein and therein have been duly and validly authorized by all necessary
        corporate action on the part of the Purchaser. This Agreement has been and, as of the
        Closing Date, the Purchaser Ancillary Documents shall be, duly executed and delivered
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        by the Purchaser and do or shall, as the case may be, constitute the valid and binding
        agreements of the Purchaser, enforceable against the Purchaser in accordance with
        their respective terms, subject to applicable bankruptcy, insolvency and other similar
        laws affecting the enforceability of creditors' rights generally, general equitable principles
        and the discretion of courts in granting equitable remedies.

                 Section 5.3    Absence of Restrictions and Conflicts. The execution, delivery
        and performance of this Agreement and the Purchaser Ancillary Documents, the
        consummation of the transactions contemplated hereby and thereby and the fulfillment
        of, and compliance with, the terms and conditions hereof and thereof do not or shall not
        (as the case may be), with the passing of time or the giving of notice or both, violate or
        conflict with, constitute a breach of or default under, result in the loss of any benefit
        under, or permit the acceleration of any obligation under, (a) any term or provision of the
        charter documents of the Purchaser, (b) any contract to which the Purchaser is a party,
        (c) any judgment, decree or order of any Governmental Entity to which the Purchaser is
        a party or by which the Purchaser or any of its properties is bound or (d) any statute, law,
        rule or regulation applicable to the Purchaser.

                                          ARTICLE VI
                              CERTAIN COVENANTS AND AGREEMENTS

                Section 6.1   Conduct of Business by the Sellers. For the period commencing
        on the date hereof and ending on the Closing Date, each Seller and the Shareholders
        will cause the Seller to maintain its existence and good standing in its jurisdiction of
        organization and in each jurisdiction in which the ownership or leasing of its property or
        the conduct of its business requires such qualification, except as expressly required
        hereby and except as otherwise consented to in advance in writing by the Purchaser;

              Section 6.2      Notices of Certain Events. The Sellers shall promptly notify the
        Purchaser of:

                      (a) any change or event that, individually or in the aggregate, have had or
               could reasonably be expected to have a Material Adverse Effect on the Assets or
               otherwise result in any representation or warranty of any Seller or any
               Shareholder hereunder being inaccurate in any material respect;

                     (b) any notice or other communication from any Person alleging that the
               consent of such Person is or may be required in connection with the transactions
               contemplated hereby;

                     (c) any notice or other communication from any Governmental Entity in
               connection with the transactions contemplated hereby; and

                       (d) the damage or destruction by fire or other casualty of any Asset or
               part thereof or (ii) any Asset or part thereof becoming the subject of any
               proceeding (or, to the Knowledge of any Seller, threatened proceeding) for the
               taking thereof or of any right relating thereto by condemnation, eminent domain
               or other similar governmental action.

                The Sellers hereby acknowledge that the Purchaser does not and shall not waive
        any right it may have hereunder as a result of such notifications.



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                Section 6.3    No Solicitation of Transactions. No Seller nor any of its Affiliates
        nor any of the Shareholders shall, directly or indirectly, through any officer, director,
        manager or agent of any of them or otherwise, initiate, solicit or encourage (including by
        way of furnishing non-public information or assistance), or enter into negotiations of any
        type, directly or indirectly, or enter into a confidentiality agreement, letter of intent or
        purchase agreement, merger agreement or other similar agreement with any Person
        other than the Purchaser with respect to a sale of any of the Assets.

                Section 6.4     Reasonable Efforts; Further Assurances; Cooperation. Subject to
        the other provisions hereof, each Party shall each use its reasonable, good faith efforts
        to perform its obligations hereunder and to take, or cause to be taken, and do, or cause
        to be done, all things necessary, proper or advisable under applicable Law to obtain all
        consents required and all regulatory approvals and to satisfy all conditions to its
        obligations hereunder and to cause the transactions contemplated herein to be effected
        as soon as practicable, but in any event on or prior to the Expiration Date, in accordance
        with the terms hereof and shall cooperate fully with each other Party and its officers,
        directors, employees, agents, counsel, accountants and other designees in connection
        with any step required to be taken as a part of its obligations hereunder, including the
        following:

                       (a) Each Party promptly shall make its filings and submissions and shall
               take all actions necessary, proper or advisable under applicable Laws to obtain
               any required approval of any Governmental Entity with jurisdiction over the
               transactions contemplated hereby (except that the Purchaser shall have no
               obligation to take or consent to the taking of any action required by any such
               Governmental Entity that could adversely affect the Business, the Assets or the
               transactions contemplated by this Agreement or the Purchaser Ancillary
               Documents). The Sellers shall furnish to the Purchaser all information required
               for any application or other filing to be made by any Seller pursuant to any
               applicable Law in connection with the transactions contemplated hereby.

                        (b) In the event any claim, action, suit, investigation or other proceeding
               by any Governmental Entity or other Person is commenced that questions the
               validity or legality of the Acquisition or any other transaction contemplated hereby
               or seeks damages in connection therewith, the Parties shall (i) cooperate and use
               all reasonable efforts to defend against such claim, action, suit, investigation or
               other proceeding, (ii) in the event an injunction or other order is issued in any
               such action, suit or other proceeding, use all reasonable efforts to have such
               injunction or other order lifted, and (iii) cooperate reasonably regarding any other
               impediment to the consummation of the transactions contemplated hereby.

                       (c) The Sellers shall give all notices to third parties and use its best
               efforts (in consultation with the Purchaser) to obtain all third-party consents
               (i) necessary, proper or advisable to consummate the transactions contemplated
               hereby, (ii) required to be given or obtained, including those required to be given
               or obtained pursuant to this Agreement, (iii) required to avoid a breach of or
               default under any Assumed Contract in connection with the consummation of the
               transactions contemplated hereby or (iv) required to prevent a Material Adverse
               Effect, whether prior to, on or following the Closing Date.

                     (d) Each Party shall give prompt notice to the other Parties of (i) the
               occurrence, or failure to occur, of any event that the occurrence or failure of
               which would be likely to cause any representation or warranty of any Seller, any
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               Shareholder or the Purchaser, as the case may be, contained herein to be untrue
               or inaccurate at any time from the date hereof to the Closing Date or that shall or
               may result in the failure to satisfy any condition specified in Article VII and (ii) any
               failure of any Seller, any Shareholder or the Purchaser, as the case may be, to
               comply with or satisfy any covenant, condition or agreement to be complied with
               or satisfied by any of them hereunder. Each Seller and each Shareholder hereby
               acknowledges that the Purchaser does not and shall not waive any right it may
               have hereunder as a result of such notifications.

                Section 6.5     Supplements to Schedules. From time to time up to the Closing,
        the Sellers and the Shareholders shall promptly supplement or amend the Schedules
        that they have delivered with respect to any matter first existing or occurring following the
        date hereof that (a) if existing or occurring at or prior to the date hereof, would have been
        required to be set forth or described in the Schedules, or (b) is necessary to correct any
        information in the Schedules that has been rendered inaccurate thereby. No supplement
        or amendment to any Schedule shall have any effect for the purpose of determining
        satisfaction of the conditions set forth in Section 7.2 or the obligations of the Sellers and
        the Shareholders under Section 10.1(c).

                Section 6.6 Transfer Taxes; Expenses. Any Taxes or recording fees payable
        as a result of the Acquisition or any other action contemplated hereby (other than any
        federal, state, local or foreign Taxes measured by or based upon income or gains
        imposed upon the Purchaser) shall be paid by the Sellers. The Parties shall cooperate
        in the preparation, execution and filing of all returns, questionnaires, applications and
        other documents regarding Taxes and all transfer, recording, registration and other fees
        that become payable in connection with the transactions contemplated hereby that are
        required or permitted to be filed at or prior to the Closing.

               Section 6.7     Confidential Information.

                       (a) Confidential Information. Each Seller and each Shareholder shall hold
               in confidence at all times following the date hereof all Confidential Information
               and shall not disclose, publish or make use of Confidential Information at any
               time following the date hereof without the prior written consent of the Purchaser.

                Section 6.8     Risk of Loss. The risk of loss with respect to the Assets shall
        remain with the Sellers until the Closing. Until the Closing, the Sellers shall maintain in
        force all the policies of property damage insurance under which any Asset is insured. In
        the event prior to the Closing any Asset is lost, damaged or destroyed and such loss,
        damage or destruction would likely result in a Material Adverse Effect, then:

                       (a) the Purchaser may terminate this Agreement in accordance with the
               provisions of Section 9.1(d); or

                      (b) the Purchaser may require the Sellers to assign to the Purchaser the
               proceeds of any insurance payable as a result of the occurrence of such loss,
               damage or destruction and to reduce the Purchase Price by the amount of the
               replacement cost of the Assets that were lost, damaged or destroyed less the
               amount of any proceeds of insurance payable as a result of the occurrence.




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                                            ARTICLE VII
                                       CONDITIONS TO CLOSING

                Section 7.1    Conditions to Each Party's Obligations. The respective obligations
        of each Party to effect the transactions contemplated hereby shall be subject to the
        satisfaction of the conditions below:

               (a) Subject to the terms and conditions herein provided, each of the parties
               hereto shall use all reasonable efforts to take, or cause to be taken, all action and
               to do, or cause to be done, all things necessary, proper or advisable under
               applicable laws and regulations to consummate and make effective the
               transactions contemplated by this Agreement, including using its reasonable
               efforts to obtain all necessary or appropriate waivers, consents and approvals, to
               effect all necessary registrations, filings and submissions (including, but not
               limited to, any submissions requested by the Federal Trade Commission, the
               Department of Justice, the United States Bureau of Alcohol, Tobacco, Firearms
               and Explosives ("BATFE") or the United States Department of State ("State"))
               and to lift any injunction or other legal bar to the consummation of the
               transactions contemplated by this Agreement (and, in such case, to proceed with
               such transactions as expeditiously as possible).

                 Section 7.2      Conditions to Obligations of the Purchaser. The obligations of the
        Purchaser to consummate the transactions contemplated hereby shall be subject to the
        fulfillment at or prior to the Closing of each of the following additional conditions:

                       (a) Injunction. There shall be no effective injunction, writ or preliminary
               restraining order or any order of any nature issued by a Governmental Entity of
               competent jurisdiction to the effect that the Acquisition may not be consummated
               as provided herein, no proceeding or lawsuit shall have been commenced by any
               Governmental Entity for the purpose of obtaining any such injunction, writ or
               preliminary restraining order and no written notice shall have been received from
               any Governmental Entity indicating an intent to restrain, prevent, materially delay
               or restructure the transactions contemplated hereby.

                       (b) Governmental Consents. All consents, approvals, orders or
               authorizations of, or registrations, declarations or filings with, all Governmental
               Entities required in connection with the execution, delivery or performance hereof
               shall have been obtained or made.

                        (c) Representations and Warranties. The representations and warranties
               of the Sellers and the Shareholders set forth in Article IV shall have been true
               and correct in all material respects as of the date hereof and shall be true and
               correct in all material respects as of the Closing Date as though made on and as
               of the Closing Date, except that those representations and warranties that by
               their terms are qualified by materiality shall be true and correct in all respects.

                      (d) Performance of Obligations of the Sellers. Each Seller and each
               Shareholder shall have performed all covenants and agreements required to be
               performed by each of them hereunder at or prior to the Closing.

                       (e) No Material Adverse Effect. Between the date hereof and the Closing
               Date, there shall not have occurred (nor shall the Purchaser have become aware
               of) any Material Adverse Effect or any development likely to result in a Material
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               Adverse Effect.

                     (f) Consents. The Sellers shall have obtained and delivered to the
               Purchaser the written consents and notices or waivers with respect thereto as.

                      (g) Closing Date Indebtedness; Release of Liens. The Closing Date
               Indebtedness shall have been repaid in full by disbursement of a portion of the
               Purchase Price, and the Sellers shall have delivered to the Purchaser satisfactory
               evidence that all Liens affecting the Assets have been released.

                       (h) Ancillary Documents. The Sellers shall have delivered, or caused to
               be delivered, to the Purchaser the documents listed in Section 8.2.

                Section 7.3     Conditions to Obligations of the Sellers and Shareholders. The
        obligations of the Seller and the Shareholders to consummate the transactions
        contemplated hereby shall be subject to the fulfillment at or prior to the Closing of each
        of the following additional conditions:

                       (a) Injunction. There shall be no effective injunction, writ or preliminary
               restraining order or any order of any nature issued by a Governmental Entity of
               competent jurisdiction to the effect that the Acquisition may not be consummated
               as provided herein, no proceeding or lawsuit shall have been commenced by any
               Governmental Entity for the purpose of obtaining any such injunction, writ or
               preliminary restraining order and no written notice shall have been received from
               any Governmental Entity indicating an intent to restrain, prevent, materially delay
               or restructure the transactions contemplated hereby.

                       (b) Governmental Consents. All consents, approvals, orders or
               authorizations of, or registrations, declarations or filings with, any Governmental
               Entity required in connection with the execution, delivery or performance hereof
               shall have been obtained or made.

                      (c) Representations and Warranties. The representations and warranties
               of the Purchaser set forth in Article V shall have been true and correct in all
               material respects as of the date hereof and shall be true and correct in all
               material respects as of the Closing Date as though made on and as of the
               Closing Date, except that those representations and warranties that by their
               terms are qualified by materiality shall be true and correct in all respects.

                     (d) Performance of Obligations by the Purchaser. The Purchaser shall
               have performed all covenants and agreements required to be performed by it
               hereunder on or prior to the Closing Date.

                      (e) Ancillary Documents. The Purchaser shall have delivered, or caused
               to be delivered, to the Sellers the documents listed in Section 8.3.

                                               ARTICLE VIII
                                                CLOSING

                Section 8.1    Closing. The Closing shall occur on the later of (a) a date
        designated by the Purchaser within five Business Days following the satisfaction or
        waiver of the conditions set forth in Article VII that are contemplated to be satisfied prior
        to the Closing Date, (b) April 30, 2010 or (c) such other date as the Parties may agree.

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        The Closing shall take place at the offices of Boland Law Group PLLC, 14850 North
        Scottsdale Road, Suite 265, Scottsdale, AZ 85254, or at such other place as the Parties
        may agree.

                Section 8.2    Sellers Closing Deliveries. On the Closing, the Sellers shall
        deliver, or cause to be delivered, to the Purchaser the following:

                      (a) a certificate executed by the President and Chief Financial Officer of
               each Seller as to compliance with the conditions set forth in Sections 7.2(b), (c),
               (d) and (e) hereof;

                       (b) a certificate executed by each Shareholder as to compliance with the
               conditions set forth in Sections 7.2(b), (c) and (d) hereof;

                       (c) executed bills of sale, instruments of assignment, certificates of title
               and other conveyance documents, dated as of the Closing Date, transferring to
               the Purchaser all of the Sellers' right, title and interest in and to the Assets,
               together with possession of the Assets, including the Bill of Sale (the "Bill of
               Sale") substantially in the form of Exhibit 8.2(c);

                       (d)      a certificate by the Secretary or any Assistant Secretary of each
               Seller, dated the Closing Date, as to (i) the good standing of such Seller in its
               jurisdiction of incorporation and in each other jurisdiction where it is qualified to
               do business, (ii) no amendments to such Seller's charter documents and (iii) the
               effectiveness of the resolutions of the board of directors of such Seller authorizing
               the execution, delivery and performance hereof by such Seller passed in
               connection herewith and the transactions contemplated hereby; and

                     (e) all other documents required to be entered into by the Sellers and the
               Shareholders pursuant hereto or reasonably requested by the Purchaser to
               convey the Assets to the Purchaser or to otherwise consummate the transactions
               contemplated hereby.

               Section 8.3    Purchaser Closing Deliveries. On the Closing, the Purchaser shall
        have delivered, or caused to be delivered, to the Sellers the following:

                      (a) the Purchase Price to be paid at Closing pursuant to Section 3.2 paid
               and delivered in accordance with such Section;

                       (b) a certificate of an authorized officer as to compliance with the
               conditions set forth in Sections 7.3(b) and (c);

                        (c) a certificate by the Secretary or any Assistant Secretary of the
               Purchaser, dated the Closing Date, as to (i) the good standing of the Purchaser in
               its jurisdiction of incorporation and (ii) the effectiveness of the resolutions of the
               board of directors of the Purchaser or committee thereof authorizing the
               execution, delivery and performance hereof by the Purchaser passed in
               connection herewith and the transactions contemplated hereby; and

                     (d) all other documents required to be entered into or delivered by the
               Purchaser at or prior to the Closing pursuant hereto.



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                                               ARTICLE IX
                                              TERMINATION

               Section 9.1     Termination. This Agreement may be terminated:

                       (a) in writing by mutual consent of the Parties;

                        (b) by written notice from the Sellers to the Purchaser, in the event the
               Purchaser (i) fails to perform in any material respect any of its agreements
               contained herein required to be performed by it at or prior to the Closing or (ii)
               materially breaches any of its representations and warranties contained herein,
               which failure or breach is not cured within 10 days following the Sellers having
               notified the Purchaser in writing of its intent to terminate this Agreement pursuant
               to this Section 9.1(b);

                      (c) by written notice from the Purchaser to the Sellers, in the event any
               Seller or any Shareholder (i) fails to perform in any material respect any of its
               agreements contained herein required to be performed by it at or prior to the
               Closing or (ii) materially breaches any of its representations and warranties
               contained herein, which failure or breach is not cured within 10 days following the
               Purchaser having notified the Sellers of its intent to terminate this Agreement
               pursuant to this Section 9.1(c); or

                       (d) by written notice by the Sellers to the Purchaser or the Purchaser to
               the Sellers, as the case may be, in the event the Closing has not occurred on or
               prior to June 30, 2010 (the "Expiration Date") for any reason other than delay or
               nonperformance of the Party seeking such termination.

                 Section 9.2 Specific Performance and Other Remedies. Each Party hereby
        acknowledges that the rights of each Party to consummate the transactions
        contemplated hereby are special, unique and of extraordinary character and that, in the
        event that any Party violates or fails or refuses to perform any covenant or agreement
        made by it herein, the non-breaching Party may be without an adequate remedy at law.
        In the event that any Party violates or fails or refuses to perform any covenant or
        agreement made by such Party herein, the non-breaching Party or Parties may, subject
        to the terms hereof and in addition to any remedy at law for damages or other relief,
        institute and prosecute an action in any court of competent jurisdiction to enforce specific
        performance of such covenant or agreement or seek any other equitable relief.

                  Section 9.3    Effect of Termination.   In the event of termination of this
        Agreement pursuant to this Article IX, this Agreement shall forthwith become void and
        there shall be no liability on the part of any Party or its partners, officers, directors or
        stockholders, except for Section 11.1 (Notices), Section 11.5 (Controlling Law;
        Amendment), Section 11.6 (Consent to Jurisdiction, Etc.), Section 11.7 (Severability),
        Section 11.9 (Enforcement of Certain Rights), Section 11.10 (Waiver) and Section 11.14
        (Transaction Costs) and this Section 9.3, all of which shall survive the Termination Date.
        Notwithstanding the foregoing, nothing contained herein shall relieve any Party from
        liability for any breach hereof.




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                                             ARTICLE X
                                          INDEMNIFICATION

                                                                              Shareholders. Each
               Section 10.1 Indemnification Obligations of the Sellers and Shareholders.    Each
        Seller and each Shareholder shall, jointly and severally, indemnify, defend and hold
        harmless the Purchaser Indemnified Parties from, against, and in respect of, any and all
        claims, liabilities, obligations, damages, losses, costs, expenses, penalties, fines and
        judgments (at equity or at law, including statutory and common) and damages whenever
        arising or incurred (including amounts paid in settlement, costs of investigation and
        reasonable attorneys' fees and expenses) arising out of or relating to:

                      (a) any liability or obligation of any Seller or any Shareholder of any
                      (a)
                      whatsoever:
               nature whatsoever;

                     (b) events or circumstances occurring or existing with respect to the
               ownership, operation and maintenance of the Assets on or prior to the Closing
               Date,

                       (c) any breach or inaccuracy of any representation or warranty made by
                       (c)
               any Seller or any Shareholder in this Agreement such representations and
               warranties shall be read without reference to materiality, Material Adverse Effect
               or similar monetary and non-monetary qualifications);

                       (d) any breach of any covenant, agreement or undertaking made by any
                       (d)
               Seller or any Shareholder in this Agreement, the Company Ancillary Documents
               or the Shareholder Ancillary Documents;

                    (e) any fraud, willful misconduct or bad faith of any Seller or any
               Shareholder in connection with this Agreement, the Company Ancillary
               Documents or the Shareholder Ancillary Documents;

                       (f) non-compliance by the Parties with any applicable bulk sales Law.

                       The claims, liabilities, obligations, losses, damages, costs, expenses,
               penalties, fines and judgments of the Purchaser Indemnified Parties described in
               this Section 10.1 as to which the Purchaser Indemnified Parties are entitled to
               indemnification are collectively referred to as "Purchaser Losses".

                Section 10.2 Indemnification Obligations of the Purchaser. The Purchaser shall
        indemnify and hold harmless the Company Indemnified Parties from, against and in
        respect of any and all claims, liabilities, obligations, losses, damages, costs, expenses,
        penalties, fines and judgments (at equity or at law, including statutory and common) and
        damages whenever arising or incurred (including amounts paid in settlement, costs of
        investigation and reasonable attorneys' fees and expenses) arising out of or relating to:

                     (a) any breach of any covenant, agreement or undertaking made by the
               Purchaser in this Agreement; or

                     (b) any fraud, willful misconduct or bad faith of the Purchaser in
               connection with this Agreement.




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                     The claims, liabilities, obligations, losses, damages, costs, expenses,
              penalties, fines and judgments of the Company Indemnified Parties described in
              this Section 10.2 as to which the Company Indemnified Parties are entitled to
              indemnification are collectively referred to as "Company Losses".

              Section 10.3 Indemnification Procedure.

                      (a) Promptly following receipt by an Indemnified Party of notice by a third
              party (including any Governmental Entity) of any complaint or the
              commencement of any audit, investigation, action or proceeding with respect to
              which such Indemnified Party may be entitled to receive payment from the other
              Party for any Purchaser Loss or any Company Loss (as the case may be), such
              Indemnified Party shall notify the Purchaser or the Sellers and the Shareholders,
              as the case may be (the "Indemnifying Party"), promptly following the Indemnified
              Party's receipt of such complaint or of notice of the commencement of such audit,
              investigation, action or proceeding; provided, however, that the failure to so notify
              the Indemnifying Party shall relieve the Indemnifying Party from liability
              hereunder with respect to such claim only if, and only to the extent that, such
              failure to so notify the Indemnifying Party results in the forfeiture by the
              Indemnifying Party of rights and defenses otherwise available to the Indemnifying
              Party with respect to such claim. The Indemnifying Party shall have the right,
              upon written notice delivered to the Indemnified Party within 20 days thereafter
              assuming full responsibility for any Purchaser Losses (as the case may be)
              resulting from such audit, investigation, action or proceeding, to assume the
              defense of such audit, investigation, action or proceeding, including the
              employment of counsel reasonably satisfactory to the Indemnified Party and the
              payment of the fees and disbursements of such counsel. In the event, however,
              that the Indemnifying Party declines or fails to assume the defense of the audit,
              investigation, action or proceeding on the terms provided above or to employ
              counsel reasonably satisfactory to the Indemnified Party, in either case within
              such 20-day period, then the Indemnifying Party shall pay the reasonable fees
              and disbursements of counsel for the Indemnified Party as incurred; provided,
              however, that the Indemnifying Party shall not be required to pay the fees and
              disbursements of more than one counsel for all Indemnified Parties in any
              jurisdiction in any single audit, investigation, action or proceeding. In any audit,
              investigation, action or proceeding for which indemnification is being sought
              hereunder the Indemnified Party or the Indemnifying Party, whichever is not
              assuming the defense of such action, shall have the right to participate in such
              matter and to retain its own counsel at such Party's own expense. The
              Indemnifying Party or the Indemnified Party (as the case may be) shall at all
              times use reasonable efforts to keep the Indemnifying Party or Indemnified Party
              (as the case may be) reasonably apprised of the status of the defense of any
              matter the defense of which it is maintaining and to cooperate in good faith with
              each other with respect to the defense of any such matter.




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                        (b) No Indemnified Party may settle or compromise any claim or consent
              to the entry of any judgment with respect to which indemnification is being sought
              hereunder without the prior written consent of the Indemnifying Party, unless (i)
              the Indemnifying Party fails to assume and maintain the defense of such claim
              pursuant to Section 10.3(a) or (ii) such settlement, compromise or consent
              includes an unconditional release of the Indemnifying Party and its officers,
              directors, employees and Affiliates from all liability arising out of such claim. An
              Indemnifying Party may not, without the prior written consent of the Indemnified
              Party, settle or compromise any claim or consent to the entry of any judgment
              with respect to which indemnification is being sought hereunder unless (i) such
              settlement, compromise or consent includes an unconditional release of the
              Indemnified Party and its officers, directors, employees and Affiliates from all
              liability arising out of such claim, (ii) does not contain any admission or statement
              suggesting any wrongdoing or liability on behalf of the Indemnified Party and (iii)
              does not contain any equitable order, judgment or term that in any manner
              affects, restrains or interferes with the business of the Indemnified Party or any of
              the Indemnified Party's Affiliates.

                      (c) In the event an Indemnified Party claims a right to payment pursuant
              hereto, such Indemnified Party shall send written notice of such claim to the
              appropriate Indemnifying Party. Such notice shall specify the basis for such
              claim. The failure by any Indemnified Party so to notify the Indemnifying party
              shall not relieve the Indemnifying Party from any liability that it may have to such
              Indemnified Party with respect to any claim made pursuant to this Section
              10.3(c), it being understood that notices for claims in respect of a breach of a
              representation or warranty must be delivered prior to the expiration of the survival
              period for such representation or warranty under Section 10.4. In the event the
              Indemnifying Party does not notify the Indemnified Party within 30 days following
              its receipt of such notice that the Indemnifying Party disputes its liability to the
              Indemnified Party under this Article or the amount thereof, the claim specified by
              the Indemnified Party in such notice shall be conclusively deemed a liability of the
              Indemnifying Party under this Article X, and the Indemnifying Party shall pay the
              amount of such liability to the Indemnified Party on demand or, in the case of any
              notice in which the amount of the claim (or any portion of the claim) is estimated,
              on such later date when the amount of such claim (or such portion of such claim)
              becomes finally determined. In the event the Indemnifying Party has timely
              disputed its liability with respect to such claim as provided above, as promptly as
              possible, such Indemnified Party and the appropriate Indemnifying Party shall
              establish the merits and amount of such claim (by mutual agreement, litigation,
              arbitration or otherwise) and, within five Business Days following the final
              determination of the merits and amount of such claim, the Indemnifying Party
              shall pay to the Indemnified Party immediately available funds in an amount
              equal to such claim as determined hereunder.

               Section 10.4 Claims Period. The Claims Periods hereunder shall begin on the
        date hereof and terminate as follows:

                      (a) with respect to Purchaser Losses arising under (i) Section 10.1(c) with
              respect to any breach or inaccuracy of any representation or warranty in Section
              4.2 (Authorization), Section 4.3 (Absence of Restrictions and Conflicts), the
              second sentence of Section 4.4 (Title to Assets; Related Matters), or (ii) Sections
              10.1(a), 10.1(b), 10.1(d), 10.1(e), 10.1(f), and 10.1(g) (collectively, the "Surviving
              Obligations"), the Claims Period shall continue indefinitely;
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                      (b) with respect to Company Losses arising under Sections 10.2(a),
               10.2(c) or 10.2(d), the Claims Period shall continue indefinitely, except as limited
               by law (including any applicable statutes of limitation); and

                       (c) with respect to all other Purchaser Losses or Company Losses arising
               hereunder, the Claims Period shall terminate on the date that is three years
               following the Closing Date.

        Notwithstanding the foregoing, if, prior to the close of business on the last day of the
        applicable Claims Period, an Indemnifying Party shall have been properly notified of a
        claim for indemnity hereunder and such claim shall not have been finally resolved or
        disposed of at such date, such claim shall continue to survive and shall remain a basis
        for indemnity hereunder until such claim is finally resolved or disposed of in accordance
        with the terms hereof.

               Section 10.5 Investigations. The respective representations and warranties of
        the Parties contained in this Agreement or any certificate or other document delivered by
        any Party at or prior to the Closing and the rights to indemnification set forth in Article X
        shall not be deemed waived or otherwise affected by any investigation made, or
        knowledge acquired, by a Party.

                                            ARTICLE XI
                                    MISCELLANEOUS PROVISIONS

                Section 11.1 Notices. All notices, communications and deliveries required or
        made hereunder must be made in writing signed by or on behalf of the Party making the
        same, shall specify the Section hereunder pursuant to which it is given or being made,
        and shall be delivered personally or by telecopy transmission or by a national overnight
        courier service or by registered or certified mail (return receipt requested) (with postage
        and other fees prepaid) as follows:


               To the Purchaser:      Russell Phagan, Member
                                      2248 N. Power Rd.
                                      Mesa, AZ 85215


               with a copy to:        Boland Law Group PLLC
                                      14850 North Scottsdale Road, Suite 265
                                      Scottsdale, AZ 85254
                                      Attn: Robert W. Boland, Jr.
                                      Telecopy No.: (480) 656-5260
                                      Email: rob@bolandlawgroup.com

               To the Sellers or
               the Shareholders:      Shawn M. Nealon


               with a copy to:

        or to such other representative or at such other address of a party as such party may
        furnish to the other parties in writing. Any such notice, communication or delivery shall
        be deemed given or made (a) on the date of delivery, if delivered in person, (b) upon
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        transmission by facsimile if receipt is confirmed by telephone, (c) on the first Business
        Day following delivery to a national overnight courier service or (d) on the fifth Business
        Day following it being mailed by registered or certified mail.

                Section 11.2 Schedules and Exhibits. The Schedules and Exhibits are hereby
        incorporated into this Agreement and are hereby made a part hereof as if set out in full
        herein.

                 Section 11.3 Assignment; Successors in Interest. No assignment or transfer by
        any Party of such Party's rights and obligations hereunder shall be made except with the
        prior written consent of the other Parties; provided that the Purchaser shall, without the
        obligation to obtain the prior written consent of any other Party, be entitled to assign this
        Agreement or all or any part of its rights or obligations hereunder to one or more
        Affiliates of the Purchaser. This Agreement shall be binding upon and shall inure to the
        benefit of the Parties and their respective successors and permitted assigns, and any
        reference to a Party shall also be a reference to the successors and permitted assigns
        thereof.

                Section 11.4 Captions. The titles, captions and table of contents contained
        herein are inserted herein only as a matter of convenience and for reference and in no
        way define, limit, extend or describe the scope of this Agreement or the intent of any
        provision hereof.

              Section 11.5 Controlling Law; Amendment. This Agreement shall be governed
        by and construed and enforced in accordance with the internal Laws of the State of
        Arizona without reference to its choice of law rules. This Agreement may not be
        amended, modified or supplemented except by written agreement of the Parties.

                 Section 11.6 Consent to Jurisdiction, Etc. Each Party hereby irrevocably
        agrees that any Legal Dispute shall be brought only to the exclusive jurisdiction of the
        courts of the State of Arizona or the federal courts located in the State of Arizona, and
        each Party hereby consents to the jurisdiction of such courts (and of the appropriate
        appellate courts therefrom) in any such suit, action or proceeding and irrevocable
        waives, to the fullest extent permitted by law, any objection that it may now or hereafter
        have to the laying of the venue of any such suit, action or proceeding in any such court
        or that they any such suit, action or proceeding that is brought in any such court has
        been brought in an inconvenient forum. During the period a Legal Dispute that is filed in
        accordance with this Section 11.6 is pending before a court, all actions, suits or
        proceedings with respect to such Legal Dispute or any other Legal Dispute, including any
        counterclaim, cross-claim or interpleader, shall be subject to the exclusive jurisdiction of
        such court. Each Party hereby waives, and shall not assert as a defense in any Legal
        Dispute, that (a) such Party is not subject thereto, (b) such action, suit or proceeding
        may not be brought or is not maintainable in such court, (c) such Party's property is
        exempt or immune from execution, (d) such action, suit or proceeding is brought in an
        inconvenient forum or (e) the venue of such action, suit or proceeding is improper. A
        final judgment in any action, suit or proceeding described in this Section 11.6 following
        the expiration of any period permitted for appeal and subject to any stay during appeal
        shall be conclusive and may be enforced in other jurisdictions by suit on the judgment or
        in any other manner provided by applicable Laws.

               Section 11.7 Severability.        Any provision hereof that is prohibited or
        unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent
        of such prohibition or unenforceability without invalidating the remaining provisions
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        hereof, and any such prohibition or unenforceability in any jurisdiction shall not invalidate
        or render unenforceable such provision in any other jurisdiction. To the extent permitted
        by Law, each Party hereby waives any provision of law that renders any such provision
        prohibited or unenforceable in any respect.

               Section 11.8 Counterparts. This Agreement may be executed in two or more
        counterparts, each of which shall be deemed an original, and it shall not be necessary in
        making proof of this Agreement or the terms hereof to produce or account for more than
        one of such counterparts.

                  Section 11.9 Enforcement of Certain Rights. Nothing expressed or implied
        herein is intended, or shall be construed, to confer upon or give any Person other than
        the Parties, and their successors or permitted assigns, any right, remedy, obligation or
        liability under or by reason of this Agreement, or result in such Person being deemed a
        third-party beneficiary hereof.

                 Section 11.10 Waiver. Any agreement on the part of a Party to any extension or
        waiver of any provision hereof shall be valid only if set forth in an instrument in writing
        signed on behalf of such Party. A waiver by a Party of the performance of any covenant,
        agreement, obligation, condition, representation or warranty shall not be construed as a
        waiver of any other covenant, agreement, obligation, condition, representation or
        warranty. A waiver by any Party of the performance of any act shall not constitute a
        waiver of the performance of any other act or an identical act required to be performed at
        a later time.

               Section 11.11 Integration.    This Agreement and the documents executed
        pursuant hereto supersede all negotiations, agreements and understandings among the
        Parties with respect to the subject matter hereof and constitute the entire agreement
        among the Parties with respect thereto.

               Section 11.12 Compliance with Bulk Sales Laws. Each Party hereby waives
        compliance by the Parties with the "bulk sales," "bulk transfers" or similar Laws and all
        other similar Laws in all applicable jurisdictions in respect of the transactions
        contemplated by this Agreement. Seller shall provide an Affidavit of Creditors.

                Section 11.13 Cooperation Following the Closing. Following the Closing, each
        Party shall deliver to the other Parties such further information and documents and shall
        execute and deliver to the other Parties such further instruments and agreements as any
        other Party shall reasonably request to consummate or confirm the transactions provided
        for herein, to accomplish the purpose hereof or to assure to any other Party the benefits
        hereof.

               Section 11.14 Transaction Costs. Except as provided above or as otherwise
        expressly provided herein, (a) the Purchaser shall pay its own fees, costs and expenses
        incurred in connection herewith and the transactions contemplated hereby, including the
        fees, costs and expenses of its financial advisors, accountants and counsel, and (b) the
        Sellers and the Shareholders shall pay the fees, costs and expenses of the Sellers and
        the Shareholders incurred in connection herewith and the transactions contemplated
        hereby, including the fees, costs and expenses of financial advisors, accountants and
        counsel to the Sellers and the Shareholders.

               Section 11.15 Shareholders' Representative.

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                    (a) By the execution and delivery hereof, including counterparts hereof,
             each Seller and each Shareholder hereby irrevocably constitutes and appoints
             Shawn M. Nealon as the true and lawful agent and attorney-in-fact (the
             "Shareholder Representative") of such Seller and such Shareholder with full
             powers of substitution to act in the name, place and stead of such Seller and
             such Shareholder with respect to the performance on behalf of such Seller and
             such Shareholder under the terms and provisions hereof and to do or refrain from
             doing all such further acts and things, and to execute all such documents, as the
             Shareholder Representative shall deem necessary or appropriate in connection
             with any transaction contemplated hereunder, including the power to:

                          (i) act for each Seller and each Shareholder with respect to all
                    indemnification matters referred to herein, including the right to
                    compromise or settle any such claim on behalf of any Seller or any
                    Shareholder;

                          (ii) act for each Seller and each Shareholder with respect to all
                    Purchase Price adjustments referred to herein;

                            (iii) amend or waive any provision hereof (including any condition
                    to Closing) in any manner that does not differentiate among the Sellers or
                    Shareholders;

                          (iv) employ, obtain and rely upon the advice of legal counsel,
                    accountants and other professional advisors as the Shareholder
                    Representative, in the sole discretion thereof, deems necessary or
                    advisable in the performance of the duties of the Shareholder
                    Representative;

                            (v) receive and receipt for any portion of the Purchase Price or
                    any other payment due from the Purchaser to the Shareholders pursuant
                    to this Agreement;

                            (vi) incur any expenses, liquidate and withhold assets received on
                    behalf of the Sellers and the Shareholders prior to their distribution to the
                    Sellers or the Shareholders to the extent of any amount that the
                    Shareholder Representative deems necessary for payment of or as a
                    reserve against expenses, and pay such expenses or deposit the same in
                    an interest-bearing bank account established for such purpose;

                          (vii)receive all notices, communications and deliveries hereunder
                    on behalf of the Sellers and the Shareholders; and

                          (viii) do or refrain from doing any further act or deed on behalf of
                    each Seller or each Shareholder that the Shareholder Representative
                    deems necessary or appropriate, in the sole discretion of the Shareholder
                    Representative, relating to the subject matter hereof as fully and
                    completely as any Seller or any Shareholder could do if personally
                    present and acting and as though any reference to any Seller or any
                    Shareholder herein was a reference to the Shareholder Representative.

                   (b) The appointment of the Shareholder Representative shall be deemed
             coupled with an interest and shall be irrevocable, and any other Person may
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             conclusively and absolutely rely, without inquiry, upon any action of the
             Shareholder Representative as the act of any Seller or any Shareholder in all
             matters referred to herein. Each Seller and each Shareholder hereby ratifies and
             confirms that the Shareholder Representative shall do or cause to be done by
             virtue of such Shareholder Representative's appointment as Shareholder
             Representative of such Seller or such Shareholder.              The Shareholder
             Representative shall act for each Seller and each Shareholder on all of the
             matters set forth herein in the manner the Shareholder Representative believes
             to be in the best interest of such Seller or such Shareholder, but the Shareholder
             Representative shall not be responsible to any Seller or any Shareholder for any
             loss or damage any Seller or any Shareholder may suffer by reason of the
             performance by the Shareholder Representative of such Shareholder
             Representative's duties hereunder, other than loss or damage arising from willful
             misconduct or gross negligence in the performance of such Shareholder
             Representative's duties hereunder.

                       (c) Each Seller and each Shareholder hereby expressly acknowledges
             and agrees that the Shareholder Representative is authorized to act on behalf of
             such Seller or such Shareholder notwithstanding any dispute or disagreement
             among the Sellers or Shareholders, and that any Person shall be entitled to rely
             on any and all action taken by the Shareholder Representative hereunder without
             liability to, or obligation to inquire of, any Seller or any Shareholder. In the event
             the Shareholder Representative resigns or ceases to function in such capacity for
             any reason whatsoever, then the successor Shareholder Representative shall be
             the Person that the remaining Sellers or Shareholders appoint; provided,
             however, that in the event for any reason no successor has been appointed
             within 30 days following such resignation or cessation, then any Seller or any
             Shareholder shall have the right to petition a court of competent jurisdiction for
             appointment of a successor Shareholder Representative. The Sellers and
             Shareholders, jointly and severally, shall indemnify and hold the Shareholder
             Representative harmless from and against any and all liabilities, losses, costs,
             damages and expenses (including attorneys' fees) reasonably incurred or
             suffered as a result of the performance of the Shareholder Representative's
             duties hereunder, except for willful misconduct or gross negligence.



                                  (SIGNATURE PAGE FOLLOWS)




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               IN WITNESS WHEREOF, the Parties have caused this Agreement to be duly
        executed, as of the date first above written.

                                                 SINISTRAL SHOOTING TECHNOLOGIES.
                                                 LLC




                                                 Name: Russell Phagan
                                                 Title: Member


                                                 CALVARY ARMS CORPORATION




                                                 Name: Shawn M. Nealon
                                                 Title: President


                                                 SHAREHOLDERS:



                                                 Name: Sh wn M. N        n



                                                 Nam    Niel= G. Nealon



        STATE OF ARIZONA )
                           )ss:
        County of Maricopa )

                The foregoing instrument was acknowledged before me, the undersigned Notary
        Public, this   3 day of /1/1/1/1 4 `I        , 2010, by Russell Phagan, Member of
        Sinistral Shooting Technologies, LLC.




        My commission expires: )          ))
                                                                     DREW C ETZEN
                                                                    NOTARY PUBLIC
                                                               MARICOPA COUNTY, ARIZONA
                                                               MY COMM. EXPIRES 11-14-2011




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        STATE OF ARIZONA )
                           )ss:
        County of Maricopa )

                The foregoing instrument was acknowledged before me, the undersigned Notary
        Public, this     day of P/1 6 Li            , 2010, by Shawn M. Nealon, President of
        Calvary Arms Corporation.




                                                   Notary Pudic


        My commission expires:   H _( 9                                      DREW C ETZEN
                                                                             NOTARY PUBUC
                                                                        MARICOPA COUNTY, ARIZONA
                                                                        MY COMM. EXPIRES 11-14-2011



        STATE OF ARIZONA )
                           )ss:
        County of Maricopa )

                The foregoing instrument was acknowledged before me, the undersigned Notary
        Public, this     day of /i19
                                  /i19              , 2010, by Shawn M. Nealon.




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        My commission expires: \          2011                                DREW C ETZEN
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                                                                              NOTARY PUBUC
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                                                       4                MY COMM. EXPIRES 1 1-1 4-201 1
        STATE OF ARIZONA)                              4
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        County of Maricopa )

                The foregoing instrument was acknowledged before me, the undersigned Notary
        Public, this ,3 day of      A/l/ Li
                                         Li         , 2010, by Nicole G. Nealon.




        My commission expires: )          -
                                          -201
                                           201I                               DREW C ETZEN
                                                           4                 NOTARY PUBUC
                                                                        MARICOPA COUNTY, ARIZONA
                                                                        MY COMM. EXPIRES 11-14-2011
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                                     BILL OF SALE AND ASSIGNMENT


            THIS BILL OF SALE AND ASSIGNMENT is made this 3 clay of /11°91    ,
     2010, from CALVARY ARMS CORPORATION, An Arizona corporation ("Seller") to
     SINISTRAL SHOOTING TECHNOLOGIES, LLC, an Arizona limited liability company
     ("Purchaser").

             WHEREAS, Seller and Purchaser have entered into an Asset Purchase Agreement
     ("Agreement"), where herein said Agreement is fully incorporated, and pursuant to which Seller has
     agreed to convey, transfer and assign to Purchaser, Seller's right to:

                (a) One (1) C.AV-15         cores and cavities;
                (b) One (1) CAV-15 lKI cores and cavities;
                (c) One (1) C.AV-15 mold base;
                (d) One (1) CAV-15 linear vibration welding resin base fixtures;
                (e) All Licenses for the above described assets to the extent that they are assignable,
                including those set forth on Schedule 4.25 of the Agreement; and
                (f) All records required to be kept on the above described assets pursuant to parts- 447,
                478, and, 479 of C.F.R. tide 27 ((a)-(f) are hereinafter collectively known as "Transferred
     Assets).

            WHEREAS, in performance of its obligations under the Agreement, Seller desireS to
     execute and deliver this Bill of Sale and Assignment to. Purchaser to transfer Seller's right in the
     Transferred Assets.

             NOW, THEREFORE, for and in consideration of the Purchase Price to be paid in
     accordance with the Agreement, Seller does hereby grant, sell, bargain, warrant, assign, convey and
     transfer unto Purchaser, the Transferred Assets.

            TO HAVE AND TO HOLD, all of said Transferred Assets unto Purchaser and its
     successors and assigns forever; and Seller hereby covenants with Purchaser that it is the lawful
     owner of said Transferred Assets with the free and unrestricted right to sell the same; that said
     Transferred Assets are free and clear of any mortgages, liens, charges or-encumbrances of any nature
     whatsoever not expressly disclosed in the Agreement or any Schedule thereto; and that Seller will
     warrant and defend the title of the same against the lawful claims and demands of all persons
     Whomsoever.

            IN WITNESS WHEREOF, the undersigned has caused this Bill of Sale and Assignment to
     be executed on the date first above written.


                                                               SELLER:


                                                         By:
                                                               Shawn M. Nealon, President
                                                               Calvary Arms Corporation




                                                                                                 KEA000028
                                                                                                 KEA000028
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     STATE OF ARIZONA
                                  ) ss.
     COUNTY OF MARICOPA)


            On this      day of 71'1 /1 Y     , 2010, before me appeared Shawn M. Nealon, to me
     personally known, who by me was duly sworn, and acknowledged to me that he is the president of
     Calvary Arms Corporation and acknowledged that he executed the foregoing Bill of Sale and
     Assignment.

            IN WITNESS WHEREOF. I have hereunto set my hand and affixed my official seal on the
     day and year first above written.



                                                        otary Public in and for said
                                                       County and State

     My Commission Expires:
                                                                       DREW C ETZEN
          /                                               wow          NOTARY PUBLIC
                                                                  MARICOPA COUNTY, ARIZONA
                                                                  MY COMM. EXPIRES 11-14-2011




                                                                                                KEA000029
                                                                                                KEA000029
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              Exhibit 2
     2010-06-18 Agreement of Sale
      between Calvary Arms Corp
      and Cavalry Manufacturing,
                 LLC
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                         AGREEMENT OF SALE
                         AGREEMENT
                               BY AND
                                  AND BETWEEN
                                      BETWEEN

                           ARMS CORPORATION,
                  CALVARY ARMS   CORPORATION,
                     AN ARIZONA
                     AN ARIZONA CORPORATION
                                       AND
                 CAVALRY MANUFACTURING, LLC,    LLC,
                AN ARIZONA LIMITED LIABILITY
                AN                 LIABILITY COMPANY

                            EFFECTIVE JUNE   /8
                                             /8 , ,2010
                                                    2010




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                                          AGREEMENT OF SALE

          THIS AGREEMENT OF SALE (this "Agreement") is entered into effective as of
                                                                                 of the
     16 day of June, 2010 (the "Closing Date"), by and between CALVARY ARMS
    CORPORATION, an Arizona corporation ("Seller"), and CAVALRY MANUFACTURING,
    LLC, an Arizona limited liability company ("Buyer").

                                                  RECITALS

            A. Seller is engaged in the business of manufacturing medical products, firearm
    components and general plastic/me,tal
                             plastic/me,tal parts
                                            parts for
                                                   for retail
                                                        retailand
                                                               and OEM
                                                                   OEMsales
                                                                       sales(the
                                                                             (the"Business"),
                                                                                  "Business"), which is
    currently operating at 723 W. Commerce, Suite A, Gilbert, AZ 85233.

           B. Buyer desires to purchase from Seller, and Seller desires to sell to Buyer,
    substantially all of the assets of the Business, upon the terms and
                                                                    and conditions set
                                                                                   set forth'in this
    Agreement.

          C. Buyer and Seller are making certain representations, warranties and covenants and
    indemnities herein as inducements to each other to enter into this Agreement.

            NOW THEREFORE, in consideration of the respective representations, warranties,
    covenants and indemnities contained herein and for other good and valuable consideration, the
    receipt and sufficiency of
                            of which are hereby acknowledged, the parties hereto agree as follows:

                                                ARTICLE I
                                              SALE OF ASSETS

             1.1 Assets. Subject
                          Subjecttotothe
                                      theterms
                                           terms and
                                                  and conditions
                                                      conditions ofof this
                                                                       this Agreement,
                                                                            Agreement, Seller
                                                                                        Seller hereby assigns,
    sells, transfers, conveys and delivers to Buyer, and and Buyer purchases
                                                                      purchases from   Seller, all
                                                                                  from Seller, all of
                                                                                                   of Seller's
                                                                                                      Seller's
    right, title and interest in and to the Assets
                                             Assets (as
                                                    (as defined
                                                        defined below).
                                                                  below). This Agreement is for the
    purchase and sale of thethe Assets only.
                                        only. Accordingly,
                                               Accordingly, this
                                                              this Agreement
                                                                   Agreement excludes,
                                                                                 excludes, and Buyer does not
    assume, any liabilities of Seller except only those expressly assumed or taken subject to
    hereunder. TheThe Assets
                       Assets consist
                               consist of
                                       of the following:

                    (a) Tangible Property. All
                                             All equipment,  appliances, tools, machinery, supplies,
                                                 equipment, appliances,
            computers, furniture, fixtures, vehicles, leases and other tangible personal property of
            Seller wherever located, including, without limitation, the assets listed on Exhibit A.

                    (b) Inventory. All
                                   All of Seller'sinventory
                                       ofSeller's  inventory on
                                                             on hand
                                                                hand as
                                                                     as of
                                                                        of the Closing Date.

                   (c) Cash and Bank Accounts.
                                      Accounts. All
                                                  All cash
                                                      cash assets
                                                           assets of
                                                                  of the
                                                                     the Business
                                                                         Business and/or Seller such
            as checking and savings accounts, petty cash and cash on hand as of the Closing Date.

                    (d) Accounts Receivable.
                                 Receivable. All
                                             All of Seller's accounts
                                                 of Seller's accounts receivable
                                                                      receivable as of
                                                                                    of the Closing
            Date.

                   (e) Intangible Property.
                                   Property. All
                                             All of
                                                 of the intangible personal property of Seller,
                                                    the intangible
            including but not limited to goodwill, contract rights, permits, licenses, customer lists.




                                                                                                                 KEA002023
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           designs, inventions, intellectual property rights, know-how, trade secrets, confidential
           information, software, business and financial records, supplier and distribution lists,
           catalogs and marketing material, price lists, technical information, trade information,
           consulting plans, and every other item of intangible personal property owned, licensed,
           leased or held through any other means or rights
                                                        rights by Seller
                                                                     Seller and
                                                                            and used
                                                                                used in
                                                                                      in Seller's
                                                                                         Seller's Business
           including, without limitation, all of Seller's right, title and interest in and to the
           following:

                      (i)   Name. The
                                   The names
                                       names "Calvary Arms," "Cavalry Arms" and "Cavalry
                   Manufacturing."

                        (ii)   Trademarks and
                                            and Trade
                                                 Trade Names.    All trademarks and trade names of the
                                                        Names. All
                   Seller including, without limitation, the trademark registered with the Arizona
                   Secretary of State at File
                                         File No.
                                              No. 44156,
                                                   44156, and
                                                           and described
                                                               described as as follows:
                                                                                follows: "A pair of
                                                                                                  of crossed
                   sabers, in their scabbards, hilts down,
                                                     down, blades
                                                            blades facing
                                                                   facing outout and
                                                                                  and upward.
                                                                                      upward. Above the
                   sabers in a Bakersville old face font in a scrolled banner are the words "Cavalry
                   Arms". The word "Corporation" appears
                                                       appears below
                                                               below inin aa banner."
                                                                             banner." Seller
                                                                                        Seller shall execute
                   an Assignment of Trademark to assign its rights to this trademark (the
                   "Assignment of of Trademark").

                              (iii)     URL. All
                                             All URLs
                                                 URLs of
                                                      of Seller
                                                         Seller including,
                                                                including, without limitation,
                   NA. VV\\
                   NA.            irx



                       (iv)   Telephone,
                              Telephone, Etc.
                                           Etc. All telephone
                                                     telephone numbers
                                                                numbers (including
                                                                         (including 480-833-9685,
                   480-558-7192, and 480-497-4002) and advertisements currently used in the
                   operation of the Business. Buyer
                                               Buyer shall
                                                       shall open
                                                             open new
                                                                  new accounts for
                                                                                for telephone and other
                   trade accounts not assigned hereunder beginning with the Closing Date.

                   (f) Leased Equipment.  Seller is
                              Equipment. Seller   is aa party
                                                        party to
                                                               to two equipment leases, each of
                                                                                              of which is
           subject of a Financing Statement (UCC-1) (the "Equipment Leases"). Seller   Seller hereby
                                                                                              hereby
           represents and warrants to Buyer that each of the Equipment Leases has been fully paid
           and Seller owns the underlying assets
                                          assets free
                                                  free and
                                                         and clear.
                                                              clear. As of
                                                                        of the Closing Date, Seller has
           filed UCC Termination Statements (UCC-3) with respect to the Equipment Leases.

                   (g) Rights to Assets Held  Held by
                                                    by ATF.
                                                       ATF. Except
                                                              Except for the firearms listed on Exhibit B, all
           of Seller's
              Seller's rights
                        rights to
                                to the
                                    the fireaiiiis
                                        fireaiiiis and
                                                   and other
                                                       other assets currently
                                                                    currently held by the Bureau of
                                                                                                 of Alcohol,
           Tobacco, Firearms and Explosives ("ATF").

            1.2 Excluded Assets. Notwithstanding
                                  Notwithstanding any
                                                    any other
                                                         other provision
                                                                provision of
                                                                           of this
                                                                              this Agreement to the
    contrary, Buyer shall not acquire and Seller shall
                                                 shall not
                                                       not sell
                                                           sell to
                                                                 to Buyer
                                                                    Buyer any
                                                                          any of
                                                                               of the
                                                                                   the following:
                                                                                       following: personal
    items such as plaques and personal documents, Seller's records such as tax returns, financial
    statements and similar items, which shall remain the sole property of Seller and are excluded
    from the Assets.

           1.3 No Assumed Liabilities. Except
                                         Exceptforforaccounts
                                                      accounts payable
                                                                payable to
                                                                         to AZP
                                                                            AZP & & ASSOCIATES
                                                                                    ASSOCIATES that
    were incurred in the ordinary course of Seller's
                                            Seller's business, Seller is not assigning and Buyer is not
    assuming or agreeing to pay or otherwise discharge any debt, liability or obligation of Seller of
    any nature whatsoever (whether accrued, absolute, contingent or otherwise), and Seller shall


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    continue after the Closing Date to be responsible for all such debts, obligations and liabilities,
    other than liabilities accruing subsequent
                                    subsequent to
                                               to the
                                                  the Closing
                                                      Closing Date.
                                                               Date. The liabilities excluded include,
    without limitation, any costs associated with
                                             with Seller's obligations arising out of
                                                                                    of or related to any
    employment agreement, pension or retirement plan, profit-sharing plan, stock purchase or stock
    option plan, medical insurance plan, compensation and bonus agreement, vacation or severance
    pay plan or agreement or any other employee benefit plan.

    All other obligations accruing prior to and existing on the Closing Date are and shall remain the
    sole obligation and responsibility of Seller.

            1.4 Real Property
                     PropertyLeases..       Sellerisiscurrently
                                  Leases..Seller       currentlyaaparty
                                                                   party to
                                                                          to two
                                                                              two real
                                                                                   real property
                                                                                        property leases:
                                                                                                 leases: (i)
    property located at 725 W. Commerce, Suite 120, Gilbert, AZ 85233, and (ii) property located at
    723 W. Commerce, Suites IA and   and 2B,
                                          2B, Gilbert, AZ 85233 (the lease for this property has
                               leasing this
    tetiuinated and Seller is leasing  this space
                                             space asasaamonth
                                                          monthtotomonth      tenant(the
                                                                    monthtenant       (the"Real
                                                                                           "RealProperty
                                                                                                 Property
    Leases"). Buyer
                Buyer is
                       is not assuming. or
                          not assuming   or agreeing
                                            agreeing to paypay or otherwise discharge either of  of the Real
    Property Leases.

                                           ARTICLE II
                                   PURCHASE PRICE AND CLOSING

            2.1 Purchase Price.

                    (a) Pre-Adjustment Purchase
                                          Purchase Price.
                                                   Price. Subject
                                                          Subject to
                                                                  to the adjustments set forth below,
            the purchase price for the Assets shall be Two Hundred Ninety Thousand and No/100
            Dollars ($290,000.00)
            Dollars  ($290,000.00)(the    "Pre-AdjustmentPurchase
                                     (the"Pre-Adjustment    Purchase Price").

                    (b) Adjustments to Purchase
                                           Purchase Price.    Seller anticipates that itit will be required to
                                                      Price. Seller
            pay a fine to ATF for violation of Federal firearms laws, which is anticipated to be in the
            amount of Ten Thousand Dollars
                                         Dollars ($10,000)
                                                   ($10,000) (the
                                                                (the"Fine").
                                                                     "Fine"). The   Pre-Adjustment Purchase
                                                                              The Pre-Adjustment
            Price shall be reduced by the amount of the Fine if imposed on, and paid by, Seller prior
            to the Closing Date. InIn the
                                       the event
                                           event the
                                                  the Fine
                                                      Fine is
                                                            is imposed
                                                               imposed on Seller after the Closing Date,
                            requested by
            Buyer may, if requested     by Seller,
                                            Seller, pay
                                                    pay such
                                                         such Fine
                                                                FineononSeller's
                                                                         Seller's behalf.
                                                                                  behalf. InIn such event, the
            Pre-Adjustment Purchase PricePrice shall
                                                shall be
                                                      be reduced
                                                          reduced byby the
                                                                        the amount
                                                                            amount ofof the
                                                                                          the Fine.
                                                                                              Fine. The Pre-
            Adjustment Purchase Price, as reduced by the amount of the Fine pursuant to this Section
            2.1(b), shall be the total
                                 total amount
                                        amount totobebepaid
                                                        paidSeller
                                                              SellerbybyBuyer
                                                                         Buyer(the
                                                                                 (the"Purchase
                                                                                      "Purchase Price").

           2.2 Payment
               Payment ofof Purchase
                            PurchasePrice.
                                       Price.Subject
                                                Subjecttotothe
                                                            theadjustment
                                                                adjustmentdescribed
                                                                            described inin Section
                                                                                           Section 2.2(a)
    below, Buyer shall pay the Purchase Price to Seller in monthly installments of Five Thousand
                                 interest, until
    Dollars ($5,000.00), without interest, until the
                                                 the Purchase
                                                     Purchase Price
                                                                Price has
                                                                      has been  paid in
                                                                          been paid   in full.
                                                                                          full. The first
    payment shall be due and payable on the last day of the month which includes the Closing Date.

                    (a) Notwithstanding  the foregoing,
                         Notwithstanding the foregoing, the payment due from Buyer to Seller in any
            given month shall not exceed an amount equal to fifty percent
                                                                    percent (50%)      the prior month's
                                                                             (50%) of the
            net profits, as determined by Buyer in its sole and absolute discretion.




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           2.3 Concurrent Deliveries.

                   (a) Concurrent
                       Concurrent herewith
                                    herewith (the "Closing"), or as soon hereafter as practicable,
           Seller shall deliver to Buyer the following:

                         (i) An Assignment and Bill of Sale (the "Bill of Sale"), assigning to Buyer
                   all of Seller's right, title,
                          Seller's right, title, and interest in the Assets, substantially in the form of
                   Exhibit
                   Exhibit C;
                            C;

                       (ii) The Assignment of Trademark, substantially in the form of Exhibit
                                                                                      Exhibit D;
                                                                                              D;

                       (iii) Possession of the Assets;

                      (iv) Copies of this Agreement, the Bill
                                                         Bill of Sale and the Assignment of
                   Trademark executed by Seller; and

                       (v) Such other documents as may be required by this Agreement or as
                   reasonably requested by Buyer.

                   (b) Buyer shall deliver to Seller concurrently herewith the following;

                        (i) Copies of this Agreement executed by
                                                              by Buyer; and

                       (ii) Such other documents as may be required by this Agreement or as
                   reasonably requested by Seller.

           2.4 Allocation of Purchase Price. After
                                                Afterthe
                                                       the Closing,
                                                           Closing, Seller
                                                                    Seller and
                                                                           and Buyer agree to
    cooperate in connection with the allocation of
                                                 of the Purchase Price and preparation of Form 8594,
    and agree to report the allocation of
                                       of the Purchase Price in accordance with this Agreement.

                                    ARTICLE III
                     REPRESENTATIONS AND WARRANTIES OF SELLER

           Seller represents and warrants to Buyer that, as of the Closing Date:

            3.1 Organization and Existence. SellerSellerisisaacorporation
                                                              corporation duly
                                                                          duly organized,
                                                                               organized, validly
    existing, and in good standing under the laws of the State of Arizona, and has full power and
    authority to carry on its business as now being conducted, to own and operate its properties and
    assets, and to perform all its obligations under this Agreement, the Bill of Sale and all other
    documents contemplated by this Agreement.

            3.2 Authority. Seller     hasthe
                               Sellerhas   theabsolute
                                               absolute and
                                                        and unrestricted
                                                             unrestricted right,
                                                                          right, power, authority and
    capacity to execute and deliver this Agreement, the Bill of Sale, and all other documents
    anticipated to be entered into by Seller in connection
                                                 connection with this Agreement, to perfomi its
    obligations hereunder and thereunder and to consummate the transactions contemplated hereby
    and thereby. This
                  ThisAgreement     has been
                        Agreement has    been duly
                                               duly and
                                                    and validly
                                                         validly executed
                                                                 executed and delivered by Seller and
    constitutes the legal, valid and binding agreement of Seller enforceable against Seller in
    accordance with its terms. TheThe Bill
                                      Bill of
                                           ofSale,
                                              Sale, when
                                                    when executed
                                                          executed by Seller, will have been duly and


                                                      4




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    validly executed and delivered by Seller and will constitute the legal, valid, and binding
    agreement of Seller, enforceable against
                                       against Seller
                                               Seller in accordance
                                                         accordance with
                                                                     with its
                                                                           its terms.
                                                                                terms. Each
                                                                                       Each individual
                                                                                            individual
    executing this Agreement, the Bill of Sale, and all other documents hereunder on behalf of
    Seller, has the legal power, right and actual authority to bind`Seller to the terms and conditions
    hereof and thereof

            3.3 Title
                  TitletotoAssets;
                            Assets;Contracts
                                    ContractsAssignable     andIn
                                                Assignableand    InFull   Force and
                                                                     Full Force and Effect.
                                                                                     Effect. Seller
                                                                                             Seller is
                                                                                                     is the
    legal and equitable owner of the Assets free and clear of any mortgages, liens, charges, claims,
    security interests or encumbrances. Upon      the Closing,
                                            Upon the  Closing, Seller
                                                               Seller will convey to Buyer good and
    indefeasible title to the Assets, free and clear of any and all mortgages, liens, charges, claims,
    security interests and encumbrances of  of any kind, character or nature whatsoever.

            3.4 Employees. With respect to any of its present or former employees, Seller does not
    presently maintain, contribute to or have any liability under any employee benefit or welfare
    plan, including, but not limited    (i) any nonqualified deferred compensation or retirement plan
    or arrangement that is an "employee benefit plan" under the Employee Retirement Income
    Security Act of 1974 ("ERISA"); (ii) any qualified defined contribution retirement plan or
    arrangement; (iii) any qualified defined benefit pension plan or arrangement; or (iv) any
    unfunded or funded medical, health or life insurance plan or arrangement for present or future
    retirees or present or future terminated employees
                                             employees that is an "employee
                                                                  "employee benefit plan" under
    ERISA.

            3.5 Environmental Compliance. Seller does not use and has not used any materials or
    substances that any federal, state or local law may define as a "hazardous
                                                                    "hazardous waste" or "hazardous
    substance- or that any applicable law or governmental authority regulates (collectively,
    "Hazardous Materials"), in any manner that: (i) affects the Assets or any facility or property
    used in connection with the operation of Seller's business or the use of the Assets; or (ii) violates
    any laws governing the use, storage, transportation, manufacture, handling, production or
    disposal of Hazardous Materials.

            3.6 Bankruptcy. Seller
                                Sellerhas
                                       hasnot
                                           not made
                                                made any
                                                      any assignment
                                                            assignment for
                                                                         for the
                                                                             the benefit
                                                                                 benefit of
                                                                                         of creditors,
                                                                                            creditors, filed
    any petition in bankruptcy, been adjudicated insolvent or bankrupt, petitioned or applied to any
    tribunal for any receiver, conservator or trustee of it or any of its property or assets, or
    commenced any proceeding under any reorganization arrangement, readjustment of debt,
    conservation, dissolution or liquidation law or statute of any jurisdiction; and no such action or
    proceeding has been commenced or threatened against Seller by any creditor, claimant,
    governmental authority or any other person.

            3.7 Compliance with Laws. Seller
                                           Sellerhas
                                                  has conducted
                                                      conducted and
                                                                and continues
                                                                    continues to conduct the
    Business in accordance with all applicable governmental laws and regulations and is not in
    violation of any such law or regulation.

            3.8 No NoBroker's
                       Broker'sor               Fees. No
                                      Finder's Fees.
                                  orFinder's          Noagent,
                                                         agent, broker,
                                                                broker, investment
                                                                         investment banker
                                                                                    banker or similar
    person has acted directly or indirectly on behalf of Seller in connection with this Agreement or
    the transactions contemplated hereby, and no person, including Seller, is or will be entitled to
         broker's or
    any broker's   or finder's
                      finder'sfee
                               fee or
                                   or any  other commission
                                       any other            or similar
                                                 commission or  similar fee or expense, directly or
    indirectly, in connection with this Agreement or the transactions contemplated hereby.




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                  Litigation. With
           3.9 Litigation.     Withthe
                                     theexception
                                         exceptionof ofthe
                                                        theactivities
                                                            activities relating   to the
                                                                        relating to   the Fine,
                                                                                          Fine, Seller
                                                                                                Seller is not
    engaged in any pending litigation or any other claim, action or suit relating to the Business
    and/or Assets, and does not have any knowledge of nor has Seller received notice of any
    threatened litigation, claim, action or suit, or any violation, default or noncompliance on its part
    with respect to the Business and/or Assets.

             3.10 Undisclosed    Liabilities. To
                   Undisclosed Liabilities.    ToSeller's
                                                  Seller'sbest  knowledge and
                                                           bestknowledge    and belief: (a)
                                                                                         (a) with
                                                                                             with the
    exception of the firearms currently
                                 currently held
                                           held by
                                                by ATF,
                                                   ATF, neither
                                                          neither Seller
                                                                  Seller nor the Assets are subject to any
    liability or obligations of any nature, whether absolute, accrued, contingent or otherwise and
    whether due or to become due, arising out of or relating to the Assets; (b) there is no basis for the
    assertion against Seller of any such liability or obligation; (c) there are no tax liens upon any of
    the Assets; (d) there are no pending questions relating to, or claims asserted for, taxes or
    assessments against Seller with respect to the Assets; and (e) there is no basis for any such
    question or claim.

           3.11 Accuracy
                 Accuracy of of Disclosures,
                                Disclosures, Representations
                                             Representations andand Warranties.
                                                                     Warranties. To
                                                                                  To Seller's
                                                                                      Seller's best
                                                                                               best
    knowledge and belief, the information provided to Buyer by Seller represents full and fair
    disclosure and is true and complete in all material respects and may be relied on by Buyer, and
    does not contain any untrue statement of material fact, or omit a material fact necessary in order
    to make the statements contained herein or therein, in light of the circumstances under which
    they were made, not misleading.

            3.12 Consents
                  ConsentsandandApprovals.
                                  Approvals.The  Theexecution,
                                                     execution,performance
                                                                performanceandanddelivery
                                                                                  delivery by
                                                                                            by Seller
                                                                                                Seller of
    this Agreement and the related agreements and documents referred to in this Agreement or the
    performance of any act contemplated under this Agreement, do not require the consent, approval
    or action of, or filing with or notice to, any corporation, person, firm or federal, state, municipal
    or other governmental entity.

            3.13 Taxes.
                  Taxes.Seller
                          Sellerhas
                                 hasfiled   allfederal,
                                      filedall  federal,state
                                                         stateand
                                                               andother
                                                                    otherreturns,
                                                                            returns, reports
                                                                                      reports and
                                                                                              and information
                                                                                                   information
    returns required to be filed by it with respect to Taxes (as defined below) which relate to the
    Assets, results of operations or financial
                                      financial condition
                                                 condition ofofSeller
                                                                Seller(collectively,
                                                                         (collectively,the
                                                                                         the"Returns")
                                                                                             "Returns") and has
    timely paid all Taxes shown to be due on   on the
                                                   the Returns.
                                                       Returns. All
                                                                 All Returns filed are complete and
    accurate in all material respects, and Seller owes no additional Taxes with respect to the periods
    covered by the Returns. AllAll deficiencies
                                   deficiencies inin Taxes
                                                     Taxes asserted
                                                            asserted or assessments made by any taxing
    authority have been fully paid or finally
                                        finally settled.
                                                 settled. All
                                                          All Taxes, which Seller has been required to
    collect or withhold, have been withheld or collected and, to the extent required, have been paid
    to the proper taxing authority.
                         authority. The
                                      The term   "Taxes"means
                                           term "Taxes"    means all
                                                                   all taxes,
                                                                        taxes, charges,
                                                                               charges, fees,
                                                                                          fees, levies or other
    assessments including without limitation income, excise, property, sales, use and franchise taxes
    imposed by the United States or any state, county, local or foreign government or subdivision or
    agency thereof, and including any interest, penalties or additions.

            3.14 No
                 No Waiver..
                    Waiver..No Noinvestigation
                                   investigationby
                                                 byororon
                                                        onbehalf
                                                           behalfof
                                                                  ofBuyer
                                                                    Buyerwill
                                                                          will constitute
                                                                               constitute aa waiver
                                                                                             waiver as
    to enforcement of any representation, warranty or covenant contained therein, or a waiver as to
    any indemnification to which Buyer may be entitled under this Agreement.




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                                     ARTICLE IV
                       REPRESENTATIONS AND WARRANTIES OF BUYER

            Buyer represents and warrants to Seller that, as of the Closing Date:

           4.1 Organization and Existence. Buyer  Buyerisisaalimited
                                                              limited liability
                                                                       liability company
                                                                                 company duly
                                                                                         duly organized
    and validly existing under the laws of
                                         of the State of Arizona and has full power and authority to
    carry on its business as now being conducted, to own and operate its properties and assets, and to
    perform all its obligations under this Agreement.

            4.2 Authority. Buyer
                             Buyerhashasthe
                                          theabsolute
                                              absolute and
                                                       and unrestricted
                                                            unrestricted right,
                                                                          right, power,
                                                                                 power, authority and
    capacity to execute and deliver this Agreement and all other documents anticipated to be entered
    into by Buyer in connection with this Agreement, to perform its obligations hereunder and
    thereunder, and to consummate the transactions
                                         transactions contemplated
                                                       contemplated hereby
                                                                       hereby and
                                                                               andthereby.
                                                                                    thereby. No
    proceedings or authorizations that have not already been taken, are necessary to authorize the
    execution and delivery of this Agreement, thethe performance
                                                     performance of of Buyer's
                                                                       Buyer's obligations hereunder, or
    the consummation of the transactions contemplated
                                            contemplated hereby.
                                                           hereby. This
                                                                     This Agreement has been duly and
    validly executed and delivered by Buyer and constitutes the legal, valid and binding agreement
    of Buyer enforceable against
                          against Buyer'in accordance
                                             accordance with
                                                         with its
                                                              its terms.
                                                                   terms. Each
                                                                           Each individual
                                                                                 individual executing
                                                                                            executing this
    Agreement on behalf of Buyer, has the legal power, right and actual authority to bind Buyer to
    the terms and conditions hereof.

            4.3 No Broker's or Finder's Fees. No   Noagent,
                                                        agent, broker,
                                                               broker, investment
                                                                        investment banker
                                                                                   banker or similar
    person has acted directly or indirectly on behalf of Buyer in connection with this Agreement or
    the transactions contemplated hereby, and no person, including Buyer, is or will be entitled to
    any broker's   or finder's
         broker's or  finder'sfee
                               fee or
                                   or any other commission
                                      any other commission or
                                                           or similar fee or expense, directly or
    indirectly, in connection with this Agreement or the transactions contemplated hereby.

                                       ARTICLE V
                         ADDITIONAL COVENANTS AND AGREEMENTS

           5.1 Expenses. Except
                             Exceptas   otherwise expressly
                                     asotherwise             provided herein, each party to this
                                                   expressly provided
    Agreement shall bear its respective expenses incurred in connection with the preparation,
    execution and performance of this Agreement and the transactions contemplated hereby,
    including all fees and expenses of agents,
                                       agents, representatives,
                                               representatives, counsel
                                                                counsel and
                                                                        and accountants.
                                                                            accountants. The parties
    understand and acknowledge that Buyer is acquiring the Assets of Seller and that Buyer has not
    agreed to assume or pay any of Seller's costs incurred
                                                   incurred in consummating the transactions
    contemplated hereby, including, but not limited to, any legal, accounting, tax or transaction
    costs.

            5.2 Seller's Name. Within
                                  Withinthirty
                                          thirty (30)
                                                  (30) days
                                                       days after
                                                            after the
                                                                   the Closing
                                                                       Closing Date,
                                                                               Date, Seller
                                                                                       Seller shall file the
    appropriate Amendment to its Articles of Incorporation
                                                   Incorporation changing Seller's
                                                                             Seller's legal name, and Seller
    shall deliver a "filed" of the
                    "filed" of the Articles
                                   Articles of
                                            of Amendment to Buyer within thirty (30) days after receipt
    from the Arizona Corporation Commission.

           5.3 Credit Card Processing. It  Itisisanticipated
                                                  anticipated that
                                                               that Buyer will obtain
                                                                    Buyer will obtain aa separate account
    to process credit card transactions as
                                        as soon
                                           soon asas practicable
                                                     practicable following
                                                                  followingthe
                                                                            theClosing.
                                                                                 Closing. Prior to
                                                                                                 to Buyer's




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    establishment of its own account, Seller will use its good faith efforts to change the routing
    number on its credit card processing account
                                           account to
                                                    to that
                                                        that of
                                                             of Buyer.
                                                                Buyer. If this is not possible, Seller
    agrees to transfer all deposits made into its credit card processing account following the Closing
    to an account designated by Buyer, not less frequently than once every forty-eight (48) hours.
    Buyer shall cause a separate credit card processing account to be set up as quickly as is
    reasonably possible.

             5.4 Employees of Seller. Buyer shall have no liabilities or obligations whatsoever with
    respect to Seller's
                Seller's employees. Without     limitingthe
                                        Withoutlimiting        foregoing, Seller
                                                          the foregoing,    Seller has  elected to
                                                                                   has elected  to terminate
                                                                                                   terminate all
    of its employees as a result ofof the sale of the Assets to Buyer or as a result of other reasons, and
    thus Seller, and not Buyer, shall be obligated to give whatever notices are required under any
    laws or other agreement Seller has previously entered
                                                       entered into
                                                                  into with
                                                                       with respect
                                                                             respect to
                                                                                      to any
                                                                                         any of
                                                                                             of Seller's
                                                                                                 Seller's
    employees. Seller
                  Seller agrees
                          agreesto
                                 to indemnify
                                     indemnify and   hold
                                                and hold harmless
                                                          harmless Buyer      against  any and  all claims, suits,
    liabilities and damages (including Buyer's reasonable attorneys' fees and costs) relating to
    actions, events or omissions occurring prior to the Closing Date involving workers who as of or
    prior to the Closing Date are, or have been in the past, employed by Seller, including, without
    limitation, any liability resulting
                              resulting from
                                         from termination
                                               terminationor orseverance
                                                                 severanceof ofSeller's
                                                                                Seller's employees.
                                                                                          employees. Buyer
    shall have no liability or obligation whatsoever to Seller
                                                            Seller or Seller's employees in connection
    with any benefit plan or personnel policy for the benefit of    of Seller's employees, including, but not
    limited to, health insurance, vacation pay, life insurance, severance benefits and disability
    insurance.

            5.5 Employees. As Asof ofthe
                                      theClosing
                                         Closing Date,
                                                   Date, (a)
                                                          (a) Seller
                                                              Seller will
                                                                     will terminate
                                                                          terminate the employment of  of each
    of Seller's
       Seller's employees;
                employees; (b)
                             (b) Seller
                                 Seller will
                                        will notify
                                             notify the
                                                    the employees
                                                        employees of their termination as of  of the Closing
    Date in accordance with the terms of the employment agreements between the Seller and each of
    Seller's employees;
    Seller's employees; and    (c) Buyer will offer new employment
                          and (c)                          employment contracts to  to such
                                                                                       such of
                                                                                            of Seller's
                                                                                               Seller's
    employees as Buyer determines, in its solesole discretion.
                                                    discretion. Seller
                                                                 Seller and Buyer will coordinate their
    efforts so that the termination notice and offer for employment are made simultaneously.

           5.6 Survival of Representations and Warranties. The    Therespective
                                                                       respective representations,
                                                                                   representations,
                             of each Party hereto shall survive the Closing Date and the
    warranties and covenants of
    consummation of the transactions contemplated hereby.

                                                ARTICLE VI
                                             INDEMNIFICATION

            6.1 Indemnification by Seller. Seller
                                                Sellershall   indemnify Buyer
                                                       shall indemnify  Buyer and
                                                                               and hold
                                                                                   hold Buyer harmless
    for, from and against any and all damages, costs,
                                                  costs, or
                                                         or expenses
                                                            expenses (including reasonable attorneys'
                                                                     (including reasonable
    fees) ("Damages") arising out of or resulting from (a) any misrepresentation or breach of any
    representation, warranty, covenant, or agreement made by Seller in this Agreement, or (b) any
    and all actions, suits, claims, or other proceedings or investigations ("Claims") against Buyer
    that relate to the Business or the Assets in which the principal event giving rise thereto occurred
    on or prior to the Closing Date.

            6.2 Indemnification by Buyer. Buyer
                                             Buyershall
                                                     shall indemnify
                                                            indemnify Seller
                                                                      Seller and
                                                                             and hold
                                                                                 hold Seller
                                                                                      Seller harmless
    for, from and against any and all Damages arising out of or resulting from (a) any
    misrepresentation or breach of any representation, warranty, covenant, or agreement made by




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    Buyer in this Agreement, or (b) any and all Claims against Seller that relate to the Business or
    the Assets in which the principal event giving rise thereto occurred after the Closing Date.

            6.3 Notice of Indemnification
                             Indemnification Demand. IfIfaaparty
                                                              party hereto
                                                                     hereto (the "Indemnitee")
                                                                                  "Indemnitee") receives
                                                                                                 receives
    written notice of any claim or the commencement of any action or proceeding with respect to
    which the other
               other party (the"Indemnifying
                     party (the "Indemnifying Party")
                                                Party")isisobligated
                                                            obligated to
                                                                       to provide
                                                                          provide indemnification
                                                                                   indemnification
    pursuant to Section 6.1 or 6.2 hereof, the Indemnitee shall give the Indemnifying Party written
    notice thereof and shall permit the Indemnifying Party to participate in the defense of any such
    claim, action or proceeding by counsel of the Indemnifying
                                                    Indemnifying Party's own choosing and at the
    Indemnifying Party's own expense. In  In addition,
                                             addition, upon
                                                        upon written
                                                             written request
                                                                      request of
                                                                              of the Indemnitee, the
    Indemnifying Party shall assume
                               assume the
                                       the defense
                                           defense of
                                                    of any
                                                       any such
                                                           such claim,
                                                                 claim,action
                                                                         actionor
                                                                                orproceeding.
                                                                                   proceeding. In any
    event, the Indemnitee and the Indemnifying Party shall cooperate in the compromise of, or
    defense against, any such asserted liability.

            6.4 Buyer's  Rightto
                Buyer's Right    toSetoff.
                                    Setoff.InInthe
                                                theevent
                                                    eventSeller
                                                          Sellerfails
                                                                 failsto
                                                                       toperform
                                                                          perform its
                                                                                   its indemnification
                                                                                        indemnification
    obligations pursuant to Section 6.1, Buyer shall have the right to setoff such amounts (including
    reasonable attorneys'  fees), against
                attorneys' fees), against any
                                           any unpaid
                                                unpaid amounts due from
                                                                      from Buyer to Seller under this
    Agreement.

                                             ARTICLE VII
                                           MISCELLANEOUS

             7.1 Amendment
                   Amendment and  andModification.
                                      Modification.This
                                                    ThisAgreement
                                                         Agreementmay
                                                                    maybebeamended,
                                                                             amended, modified,
                                                                                       modified,
    tei ullated,  rescindedororsupplemented
        ullated, rescinded      supplementedonly
                                            onlyby
                                                 bywritten
                                                    written agreement
                                                            agreement of
                                                                      of the
                                                                         the parties hereto.

            7.2 Further    Assurances.The
                  Further Assurances.    Theparties
                                              partieshereto
                                                       heretoagree
                                                              agree(a)
                                                                    (a)totofurnish
                                                                            furnish upon
                                                                                    upon request
                                                                                          request to each
    other such further information, (b) to execute and deliver to each other such other documents,
    and (c) to do such other acts and things, all as another party hereto may at any time reasonably
    request, including before, on and after the Closing Date, for the purpose of carrying out the intent
    of this Agreement and the documents referred to herein.

            7.3 Notices. AllAllnotices
                                noticesand
                                        andother
                                            other communications
                                                  communications hereunder
                                                                    hereunder shall be in writing and
    shall be deemed to have been duly given when (a) delivered personally, (b) sent via facsimile
    (with receipt confirmed), provided that a copy is mailed by registered or certified mail, return
    receipt requested within two business days after being sent via facsimile, (c) received by the
    addressee, if sent by Express Mail, Federal Express or other express delivery service (receipt
    requested), or (d) three business days after being sent by registered or certified mail, return
    receipt requested, in each case to the other party at the following addresses and facsimile
    numbers (or to such other address or facsimile number for a party as shall be specified by like
    notice; provided that notices of a change of address or facsimile number shall be effective only
    upon receipt thereof):

           If to Seller:
                   CALVARY ARMS, INC.
                   ATTN: Shawn
                           Shawn M.
                                  M. Nealon
                   1334 S. Glenview Cir.
                   Mesa, AZ
                         AZ 85204
                             85204




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            If to Buyer:
                    CAVALRY MANUFACTURING, LLC
                    ATTN: Christian
                             Christian Cappello
                    723 W. Commerce, Suite A
                    Gilbert, AZ 85233

            7.4 Binding Effect. ThisThisAgreement
                                           Agreement andand all
                                                            all of
                                                                of the
                                                                    the provisions
                                                                        provisions hereof
                                                                                   hereof shall be binding
    upon and inure to the benefit of the parties hereto and their respective successors and permitted
    assigns. This
              ThisAgreement
                   Agreement isis not
                                  not intended
                                       intended to
                                                 to and
                                                    and shall
                                                         shall not
                                                               not confer upon any person other than the
    parties any rights or remedies hereunder or with respect hereto.

            7.5 Governing Law. This  ThisAgreement
                                            Agreement shall
                                                         shall be
                                                               be governed
                                                                   governed by the laws of the State of
    Arizona (regardless of the laws that might otherwise govern under applicable Arizona principles
    of conflicts of law) as to all matters, including but not limited to matters of validity, construction,
    effect, performance and remedies. ItIt isis intended
                                                 intended by
                                                          by the
                                                             the parties
                                                                  parties that this Agreement be interpreted
    in accordance with its fair and simple meaning,
                                              meaning, not for
                                                             for or
                                                                 or against
                                                                    against either
                                                                             either party,
                                                                                    party, anc,
                                                                                           anc, neither party
    shall be deemed to be the drafter ofof this Agreement.

           7.6 Counterparts. This
                                ThisAgreement
                                      Agreementmay may be
                                                        be executed
                                                            executed in
                                                                      in one
                                                                         one or
                                                                             or more
                                                                                more counterparts,
                                                                                      counterparts, each
                                                                                                     each
    of which shall be deemed
                      deemed an
                             an original,
                                original, but
                                          but all
                                              all of
                                                  of which
                                                     which together
                                                            together shall
                                                                     shall constitute
                                                                           constitute one,
                                                                                       one, and the same
    agreement.

            7.7 Entire
                  EntireAgreement.      ThisAgreement,
                          Agreement. This     Agreement, including
                                                           including the
                                                                      the Exhibits
                                                                          Exhibits and
                                                                                   and the
                                                                                        the documents,
                                                                                            documents,
    instruments and schedules referred to herein, embodies the entire agreement ami understanding
    of the parties hereto in respect of the subject
                                            subject matter
                                                    matter contained
                                                            contained herein.
                                                                       herein. There are no restrictions,
    promises, representations, warranties, covenants, or undertakings other than those expressly set
    forth or referred to herein. This
                                 This Agreement
                                      Agreement supersedes
                                                   supersedes all prior agreements and understandings
    between the parties with respect to such subject matter.

          7.8 Time of Essence. WithWithregard
                                        regardto
                                               toall
                                                  alltime
                                                      time periods
                                                           periods set
                                                                    set forth
                                                                         forth or
                                                                               or refem.
                                                                                   refem. d to in this
    Agreement, time is of the essence.

             7.9 Severability. Any
                                 Anyterm
                                       termororprovision
                                                provision ofof this
                                                                this Agreement
                                                                     Agreement that is invalid or
    unenforceable in any situation in any jurisdiction shall not affect the validity or enforceability of
    the remaining terms and provisions hereof or the validity or enforceability of the offending term
    or provision in any other situation or in
                                            in any
                                               any other
                                                    other jurisdiction.
                                                           jurisdiction. If
                                                                          If the final
                                                                                 final judgment of
                                                                                                of the court
    of competent   jurisdiction declares that a term or provision hereof is invalid or unenforceable, the
    parties agree that the court making the determination of invalidity or unenforceability shall have
    the power to reduce the scope, duration or area of the term or provision, to delete specific words
    or phrases, or to replace any invalid or unenforceable term or provision with a term or provision
    that is valid and enforceable that comes closest to expressing the intention of the invalid or
    unenforceable term or provision, and this Agreement shall be enforceable as so modified after
    the expiration of the time within which the judgment may be appealed.

           7.10 Incorporation
                 Incorporation ofof Exhibits.
                                    Exhibits. The
                                              Theexhibits
                                                   exhibitsidentified
                                                            identified in
                                                                        in this
                                                                           this Agreement are
    incorporated herein by reference and are a part hereof.



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             7.11 Facsimiles.
                  Facsimiles. InInorder  tofacilitate
                                   orderto  facilitate completion of the
                                                       completion of  thetransaction
                                                                          transactioncot
                                                                                      cot .nplated
                                                                                            .nplated by
                                                                                                     by this
     Agreement, the parties agree that facsimile copies
                                                    copies of
                                                           of documents
                                                              documents and
                                                                         and signatures
                                                                              signatures tt ay be used and
     will be considered to be as valid as originals.

                    Arbitration.The
              7.12 Arbitration.     The  partiesagree
                                       parties   agreethat
                                                         thatany
                                                              anydispute
                                                                  disputearising
                                                                           arisingout
                                                                                   out of
                                                                                        ofthis
                                                                                           this Agreement,
                                                                                                Agreement, or
     any of
          of the documents signed in connection herewith, shall be resolved through arbitration in
     accordance with the then current Rules of Commercial Arbitration of the American Arbitration
     Association or any successor organization
                                       organization (the
                                                     (the "AAA").
                                                            "AAA"). The party desiring to initiate the
     arbitration process shall give written notice to that effect to the other party and shall, in such
     written notice, include a brief statement of its its claims.
                                                          claims. Within
                                                                   Within ten (10) days of of the notice of
                                                                                                          of intent
     to arbitrate, the parties shall meet for the purpose of attempting to jointly select a single arbitrator
     to serve in the matter. IfIfthey
                                  they are
                                       are unable
                                           unable to
                                                   to agree
                                                       agree on
                                                              on the
                                                                 the designation
                                                                     designation ofof the arbitrator, either party
     may apply to the AAA for the appointment of a single arbitrator in accordance with the rules of
     the AAA then in effect. The The arbitration
                                      arbitration proceeding
                                                  proceeding shall be heldheld within sixty (60) days of the
     appointment of the arbitrator anti the arbitrator shall render his or her decision within thirty (30)
     days after the conclusion of the arbitration
                                         arbitration proceeding.
                                                      proceeding. The decision of  of the arbitrator shall be
     final and binding upon, and non-appealable by, the parties and any judgment may be had on the
     decision and award so rendered in any court court of competent
                                                            competent jurisdiction.
                                                                        jurisdiction. The prevailing party shall
     be entitled to all costs incurred in connection with the arbitration proceeding, including the fees
     of the arbitrator, its reasonable attorneys' fees,    witness fees
                                                    fees, witness   fees and other costs as determined by the
     arbitrator.

            IN WITNESS
               WITNESS WHEREOF,
                            WHEREOF,each     eachofofthe
                                                      theparties
                                                          partieshereto
                                                                    heretohas
                                                                          has caused
                                                                              caused this
                                                                                      this Agreement
                                                                                           Agreement to be
     executed on
     executed on its
                 its behalf
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                            asof
                               ofthe
                                  thedate  first
                                      datefirst above
                                                 abovevyrritten.
                                                         vyrritten.

     SELLER:                                                                 CALVARY ARMS
                                                                                        ARMS CORPORATION,
                                                                                                CORPORATION, an
                                                                             Arizona corporation


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                                                                                tAiti*awn M.
                                                                                           M.Nealon,
                                                                                              Nealon,President
                                                                                                      President
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                                                         -nd andofficir?)
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     BUYER:                                                                  CAVALRY MANUFACTURING, LLC, an
                                                                             Arizona limited liability compan


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                                  ASSIGNMENT AND BILL OF SALE


            THIS ASSIGNMENT AND BILL OF SALE (this "Bill   "Bill of Sale"), effective as of the
     /3 day of June, 2010, is executed by CALVARY ARMS CORPORATION, an Arizona
    corporation ("Seller"),
                 ("Seller"), to
                             to and
                                and in
                                     in favor
                                        favor of
                                              of CAVALRY
                                                 CAVALRY MANUFACTURING, LLC, an Arizona
    limited liability company
                      company ("Buyer").
                                 ("Buyer").

                                                RECITALS:

            A. Seller and Buyer have entered into an Agreement of Sale dated effective as of the
    date of this Bill of Sale (the "Purchase
                         Sale (the "Purchase Agreement")
                                              Agreement")whereby
                                                             whereby Seller
                                                                       Seller agreed
                                                                              agreed to
                                                                                      to sell
                                                                                         sell and
                                                                                              and Buyer
    agreed to purchase, substantially all of Seller's
                                             Seller's tangible
                                                      tangible assets and certain intangible assets.

            B. Seller, for the payinept by Buyer of the Purchase Price specified in the Purchase
    Agreement, desires to sell, convey, transfer, assign, and deliver to Buyer all of its right, title and
    interest in and to the Assets, as defined in the Purchase Agreement.

             C. In conjunction with the closing of the transactions contemplated by the Purchase
    Agreement, this Bill of Sale is executed for the purpose of transferring
                                                                   transferring to
                                                                                to Buyer
                                                                                   Buyer all
                                                                                         all of
                                                                                             of Seller's
    right, title and interest in and to the property covered by this Bill of Sale.

           NOW, THEREFORE, for and in consideration of the mutual covenants contained herein
    and other good and valuable consideration, the receipt and sufficiency of which are hereby
    acknowledged, the parties agree as follows:

            1. Except as otherwise provided herein, all capitalized terms contained and not defined
    herein (including the recitals hereto) shall have the respective meanings ascribed to them in the
    Purchase Agreement.

             2. Seller hereby irrevocably sells, transfers, conveys, assigns, and delivers to Buyer all
    of its right, title and interest in and to the Assets pursuant to the representations and warranties
    set forth in the Purchase Agreement, with the same effect as if such representations and
    warranties were fully set forth herein.

            3. At any time or from time to time after the date
                                                            date hereof,
                                                                 hereof, at Buyer's request and without
    further consideration, Seller shall execute and deliver to Buyer such other instruments of sale,
    transfer, conveyance, assignment, and confii illation, provide such
                                                                    such materials and information and
    take such other actions as Buyer may reasonably deem necessary or desirable in order to transfer,
    convey, and assign to Buyer, and to confirm Buyer's title to, all of
                                                                       of the Assets, and, to the full
    extent permitted by law, to put Buyer in actual possession and operating control of the Assets
    and to assist Buyer in exercising all rights with respect thereto.

            4. This Bill of Sale is delivered pursuant to and is subject to the Purchase Agreement.
    In the event of any conflict between the terms of the Purchase Agreement and the terms of this
    Bill of Sale, the terms of
                            of the Purchase Agreement shall prevail.




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             5. This Bill of Sale and all of the provisions hereof shall be binding upon and shall inure
    to the benefit of the respective parties and
                                              and their
                                                  their assigns,
                                                        assigns, transferees,
                                                                  transferees, and
                                                                               andsuccessors.
                                                                                   successors. This Bill of
    Sale is made in the State ofof Arizona, and shall be governed by and construed in accordance with
    the laws of the State of
                           of Arizona applicable to a contract executed and performed in such State,
    without giving effect to the conflicts of laws principles thereof, except that if it is necessary in
    any other jurisdiction to have the law of such other jurisdiction govern this Bill of Sale in order
    for this Bill of Sale to be effective in any respect, then the laws of such other jurisdiction shall
    govern this Bill of Sale to such extent.

           IN WITNESS WHEREOF, the Seller has executed this Bill of Sale to be effective as of
    the day and year first above written.

    Sehr611-       '91-r ' NA                                  CALVARY
                                                               CALVARY ARMSARMS CORPORATION,
                                                                                  CORPORATION, an
      201.11NITY                                               Arizona corporation
      This
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                                    20                         ftjer                  /44
      In witness                    cCi
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                                                                By
      3eal.                                                                Shawn M. Nealon, President
         rtm,
    Agreed to                                                  CAVALRY
                                                               CAVALRY MANUFACTURING,
                                                                           MANUFACTURING,LLC     LLC a
                                                               Arizona limited liability company


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                                                               By
                          My Comm. Exp•                                    Christian Cappell   anager


         P:T•E

      COUNTY OF

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                                             EXHIBIT A
                                             List of Assets


       1. Van Dorn 300 ton injection molding press

       2. Branson Linear Vibration Welder

       3. Connex (storage container)

       4. Ford Van (1995) VIN # 1FRIS31H1SHB99265

       5. Trailer (title currently in possession of ATF)

       6. Tourniquet Mold (located at Cavalry Arms)

       7. All molds located at the premises of RED RIB, INC., an Arizona corporation doing
          business as AZP & ASSOCIATES, 4210 S. 36th St., Phoenix, Arizona
                                                                      Arizona 85040
                                                                              85040 including,
          without limitation, the following:

              a. C II Mold.

              b. C2 Mold

              c. C3 + C4 Mold

              d. C6 + C8 Mold

              e. C7 + C5 Mold

              f. C9 Mold

              g. Bullet tray

              h. Letter Opener + Bushing Wrench Mold

              i. Night`Vision Cap Mold

              j.   Buttplate and Trap Door Mold




                                                                                                 KEA002036
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                                               EXHIBIT
                                            Excluded Firearms
                                            Excluded

            MANUFACTURER                      TYPE             MODEL           CALIBER         SERIAL NUMBER
           Molot/Robinson Arms                 Rifle             Vper         7.62x39mm           03kk7112
           Mauser/Century Arms                 Rifle             M98             .30-06              8868
            MAS/Century Arms                   Rifle           Mas-36          7.5x54mm             60051
                 Savage                    Rifle/Shotgun                      .22rnag/20g           24J-DL
                 Ruger                         Rifle            22-Oct        .22 Long Rifle      237-57132
            Springfield Armory                 Rifle             840          .22 Long Rifle       unknown
             Smith & Wesson                   Pistol             Airlite         .38 Spc          COH0120
             Smith & Wesson                   Pistol              686           .357 Meg          CEU8617
                 Benelli                     Shotgun              M3              12 g             0480811
              Cavalry Arms                     Rifle           CAV-15           .223 Rem           ASA0076
              Cavalry Arms        . ---:       Rifle            CAV-15          .223 Rem        Monkey Girl 01
              Cavalry Arms                     Rifle           CAV-15           .223 Rem             RAD
              Cavalry Arms                     Rifle           CAV-15           .223 Rem           Voodoo 2
              Cavalry Arms                     Rifle            CAV-15          .223 Rem        People Eater 01
              Cavalry Arms                     Rifle            CAV-15          .223 Rem       Banana Phone 01
              Cavalry Arms                     Rifle            CAV-15          .223 Rem       Problem Solver 01
              Cavalry Arms                     Rifle            CAV-15          .223 Rem        Cav Scout-001
              Cavalry Arms                     Rifle           CAV-15           .223 Rem            C-182
              Cavalry Arms                     Rifle            CAV-15          .223 Rem         Everheart 005
              Cavalry Arms                     Rifle           CAV-15           .223 Rem          GUNGNIR
              Cavalry Arms                     Rifle            CAV-15          .223 Rem        Castlearrns-03
              Cavalry Arms                     Rifle            CAV-15          .223 Rem         People Eater
              Cavalry Arms                     Rifle            CAV-15          .223 Rem             A-41
              Cavalry Arms                     Rifle            CAV-15          .223 Rem             A-46
              Cavalry Arms                     Rifle            CAV-15          .223 Rem             A-21
              Cavalry Arms                     Rifle            CAV-15          .223 Rem          SANDMAN
              Cavalry Arms                     Rifle            CAV-15          .223 Rem            Voodoo
              Sabre Defense                    Rifle             SR15              556             SDI1473
           American Spirit
                    SpiritArms
                           Arms                Rifle          ASA-PR15          .223 Rem           PROTO
                  Clock                        Pistol              34             9mm              HPE111
                  Glock                        Pistol              19             9mm              CZD814
                  Glock                        Pistol              17             9rnm             GKS532
                 Taurus                        Pistol            PT-22        .22 Long Rifle       USA0689
                   Cz                          Pistol           CZ4OV           .20 S&W             A7529
                 Kel Tec                       Pistol             P32            .32 ACP            53606
                 Kel Tec                       Pistol            P3AT           .380 ACP            H6V22
                 Mauser                        Pistol           ST AlB
                                                                ST AlB         .30 Mauser           489407
                Browning                     Shotgun          Invictor Plus        12g           13371PX152
                Mossberg                     Shotgun             500A              12g             L338867
                 Armalite                      Rifle           AR-1801           5.56mm           US202845
                 Armalite                      Rifle             AR-10           7.62mm           U5347774
              ITM Arms Co.                     Rifle             AK-74         5.45x39mm            303382
                 Arsenal                       Rifle            SLR-95         7.62x39rnm          AE37296



                                                        B-1




                                                                                                                   KEA002037
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            MANUFACTURER                   TYPE              MODEL        CALIBER      SERIAL NUMBER
              Vulcan Arms
                     Arms                  Rifle               V15         5.56mm         P008142
                 Savage                    Pistol              1907        .32 ACP          1913
          Russian American Arms          Shotgun             Saiga-12       12g          -106421746
            Unknown (German)               Pistol                          7.72mm           8591
            CCF Race Frames                Pistol             G17/22      .40 SEAN
                                                                          .40 SEAN        CGL919
                 Savage                  Shotgun               720          12g            72020
            Winchester/Sears              Shotgun              M200          12g          P294612
               Remington                  Shotgun           870 Express      12g         A925675M
              Cavalry Arms                 Rifle              Cav 15      .223 Rem       PHXPD01
              Cavalry Arms                 Rifle              Cav 15      .223 Rem       PHXPD02
              Cavalry Arms                 Rifle              Cav 15      .223 Rem       PHXPD03
              Cavalry Arms                 Rifle              Cav 15      .223 Rem       PHXPD04
              Cavalry Arms        _        Rifle              Cav 15      .223 Rem      KIRCHER2005
              Cavalry Arms                 Rifle              Cav 15      .223 Rem        CAVDAR
              Cavalry Arms                 Rifle             Cav 15A      .223 Rem       CA000001
              Cavalry Arms                 SBR               Cav 15A      .223 Rem       CA000002
              Cavalry Arms                 Rifle             Cav 15A      .223 Rem       CA000003
              Cavalry Arms                  Rifle            Cav 15A      .223 Rem        CA000004
              Cavalry Arms                 Rifle             Cav 15A      .223 Rem       CA000005
              Cavalry Arms                 Rifle             Cav 15A      .223 Rem       CA000006
              Cavalry Arms                 Rifle             Cav 15A      .223 Rem       CA000007
              Cavalry Arms                 Rifle             Cav 15A      ,223 Rem       CA000008
              Cavalry Arms                 Rifle             Cav 15A      .223 Rem        CA000009
              Cavalry Arms                 Rifle             Cav 15A      ,223 Rem        CA000010
              Cavalry Arms                 Rifle             Cav 15A      .223 Rem        CA000016
              Cavalry Arms                  Rifle            Cav 15A      .223 Rem        CA000100
              Cavalry Arms                  Rifle            Cav 15A      .223 Rem        CA000200
              Cavalry Arms                  Rifle            Cav 15A      .223 Rem        CA000242
              Cavalry Arms                  Rifle            Cav 15A      .223 Rem        CA000300
              Cavalry Arms                  Rifle            Cav 15A      .223 Rem        CA000400
               Cavalry Arms                 Rifle            Cav 15A      .223 Rem        CA000500
               Cavalry Arms                 Rifle            Cav 15A      .223 Rem        CA000600
               Cavalry Arms                 Rifle            Cav 15A      .223 Rem        CA000700
               Cavalry Arms                 SBR                PS90         5.7mm         FN037949
              Sabre Defense                 Rifle             SR-15        5.56mm         SDI0023
              Sabre Defense                 Rifle              SR-15       5.56mm         SDI0053
              Century Arms                  Rifle            VVASR-2      5,45x39mm       217649-06
              Century Arms                  Rifle             PSL54C      7.62x54R        H376678
               DC Industries                SBR              NDS-M92      7.62x39mrn       K1210
               DC Industries                Rifle            NDS-2SF      5.45x39mm      AKS740277
                  Benelli                   SBS              M1 Entry        12g          M132271
                   IMI                      Rifle               Uzi        .45 ACP          9677
              RPB Industries -             Pistol              M-10        .45ACP        SAP453448
             Foster Industries             Pistol              1911         Multi          F21075
                Ruger/SJM             Surpressed Pistol     MK2 / MK2S      .22 II-         PA12
                   SJM                   Surpressor              Q           9mm            PA02



                                                      B-2




                                                                                                       KEA002038
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            MANUFACTURER                                TYPE             MODEL       CALIBER         SERIAL NUMBER
             Smith & Wesson                          Machinegun            76           9mm              U4257
                   Coll                              Machinegun          M16A1        5.56mm            9244331
              Shawn Nealon                           Machinegun           PKM        7.62x54R            S0069
              Shawn Nealon                           Machinegun           PKM        7.62x54R            S0057
              Shawn NeaIon                           Machinegun          M1919A6       .30 Cal            4038
              Shawn NeaIon                           Machinegun           M-60        7.62rnm           7269239
              Shawn NeaIon                           Machmegun           Bren Mk1       0.303             1943
              Shawn NeaIon                            Surpressor          Reflex      5.56rnm          REFLEX001
                  Gemtec                              Surpressor          HALO        5.56mm           S05-12960
                  Gemtec                      /       Surpressor         Outback    .22 Long Rifle      S03-8905
                  Gemtec                              Surpressor           HVT        7.62mm           S06-14812
                  Gemtec                              Surpressor          M402        5.56mm           S05-13255
                  Gerntec                             Surpressor          Trinity       9mm            S06-17271
          Rock Creek Gun Service      ...,-           Surpressor           VKII         9mm              99255
           Military Armament Co                       Surpressor           none         9mm            S2-2000693
            Springfield Armory                           Rifle             MIA          0.308            206454
          VLTOR Weapon Systems                            rifle            PKM        7.62x54R           S0009
            Cavalry Arms Corp,                    Short Barreled Rifle   CAV-15A    .223-5.56mm         CA000013
                 Cav Arms                            Machine'Gun          Cav-16        0.223          CavScout07
                 Cav Arms
                 Cav                                 Machine Gun          Cav-16        0.223          CavScout23
              Heckler & Koch                         Machinegun           G36K         5.56mm           84-004414
         Century Arms International                      Rifle             M44        7.62x54R         M44056006




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                                                                                                                     KEA002039
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                                     EXHIBIT C
                              Assignment And
                                         And Bill
                                             Bill of Sale




                                                                               KEA002040
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                                     EXHIBIT D
                               Assignment
                               Assignment of
                                          ofTrademark
                                             Trademark




                                                                               KEA002041
     Case 4:20-cv-00341-CVE-SH Document 123 Filed in USDC ND/OK on 07/18/22 Page 58 of 64




    .111111111.1.1111111=
    UCC FINANCING
    UCC FINANCINGSTATEMENT
                  STATEMENTAMENDMENT
                            AMENDMENT
    FOLLOW INSTRUCTIONS (front
    FOLLOW              (front and
                               and back)
                                   back) CAREFULLY
    A. NAME &
            & PHONE
              PHONE OF
                    OF CONTACT
                       CONTACT AT FILER [optional]

     Christian Cappello
               Cappello
    B. SEND ACKNOWLEDGMENT
            ACKNOWLEDGMENT TO:
                           TO: (Name
                               (Name and
                                     and Address)


               TCalvary Arms Corporation
                  ATTN: Christian
                           Christian Cappello
                                     Cappello
                  723 W. Commerce, Suite A
                  Gilbert, AZ 85233
                               85233


                                                                                                                                 THE ABOVE SPACE IS
                                                                                                                                                 IS FOR FILING
                                                                                                                                                        FILING OFFICE USE ONLY
    1a. INITIAL
    1a.  INITIAL FINANCING STATEMENT FILE                                                                                                                b. This
                                                                                                                                                             ThisFINANCING.
                                                                                                                                                                  FINANCING.STATEMENT
                                                                                                                                                                                 STATEMENT AMENDMENT
                                                                                                                                                                                                AMENDMENT is
                                                                                                                                                             to be filed [for
                                                                                                                                                                         [for record] (or
                                                                                                                                                                                      (or recorded) in the
     20031278780-9                                                                                                                                       Li REAL ESTATE RECORDS.
—   2.       TERMINATION:    Effectiveness
             TERMINATION: Effectiveness of of
                                           thethe Financing
                                               Financing    Statement
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                                                                                                                        securityinterest(s)ofofthe
                                                                                                                                                 theSecured
                                                                                                                                                     SecuredParty
                                                                                                                                                             Partyauthorizing
                                                                                                                                                                   authorizingthis
                                                                                                                                                                               thisTermination
                                                                                                                                                                                    Termination Statement
    3.
    3. III CONTINUATION:
           I CONTINUATION:         Effectiveness
                               Effectiveness       of Financing
                                              of the  the Financing
                                                                Statement
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                                                                                                                                                                      thisContinuation
                                                                                                                                                                          Continuation Statement
                                                                                                                                                                                       Statement is
             continued for the additional period provided by applicable law,

    4. 11
    4. 11  ASSIGNMENT
          ASSIGNMENT (full(full or partial)
                            or partial) GiveGive
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                                                                                                                                                              item 9.
    5. AMENDMENT
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    6. CURRENT
       CURRENT RECORD
                RECORD INFORMATION
                         INFORMATION
        ea. ORGANIZATION'S NAME
                           NAME


    OR
    OR 6b.
        6b.INDIVIDUAL'S
            INDIVIDUAL'S LAST
                         LAST NAME                                                               FIRST NAME                                             MIDDLE NAME                                 SUFFIX



    7. CHANGED
       CHANGED (NEW)
                (NEW)OR
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                              INFORMATJON
           7a. ORGANIZATION'S NAME
                              NAME


    OR
           7b. INDIVIDUALS LAST NAME                                                             FIRST NAME                                              MIDDLE. NAME
                                                                                                                                                                 NAME                               SUFFIX


    7c. MAILING ADDRESS                                                                          CITY                                                   ;STATE      POSTAL CODE                     COUNTRY


    7d SEE INSTRUCTIONS
            INSTRUCTIONSADD'L INFO Re 17e. TYPE OF ORGANIZATION                                  7f. JURISDICTION OF ORGANIZATION                        7g ORGANIZATIONAL
                                                                                                                                                            ORGANIZATIONAL ID a, if any
                        ORGANIZATION
                        DEBTOR                                                                                                                                                                           riNONE
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    8. AMENDMENT
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                                                                                          description, or describe
                                                                                                           describe collateral
                                                                                                                    collateral            assigned




    9. NAME
       NAME OF OF SECURED PARTY OF            OF RECORD
                                                 RECORD AUTHORIZING
                                                               AUTHORIZING      THIS
                                                                                   THIS
                                                                                      AMENDMENT
                                                                                          AMENDMENT  (name (name
                                                                                                             of assignor,
                                                                                                                  of assignor,
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                                                                                                                                if this
                                                                                                                                   is anis Assignment),
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                                                                                                                                                                                       authorizedby
                                                                                                                                                                                                  byaaDebtor
                                                                                                                                                                                                      Debtor which
                                                                                                                                                                                                             which
       adds collateral or adds the authorizing
                                   authorizingDebtor,
                                               Debtor, or if this in a Termination authotized by a Debtor, check here       and enter
                                                                                                                                   enter name
                                                                                                                                          name of
                                                                                                                                                of DEBTOR
                                                                                                                                                   DEBTOR authorizing
                                                                                                                                                                authorizing this
                                                                                                                                                                             this Amendment
                                                                                                                                                                                  Amendment
           9a. ORGANIZATION'S NAME


    OR
       CALVARY
       CALVARY ARMS CORPORATION
           9b. INDIVIDUAL'S LAST NAME                                                            FIRST NAME                                              MIDDLE NAME                                SUFFIX


    10.OPTIONAL FILER REFERENCE
    10.OPTIONAL       REFERENCE DATA



                                                                                                                               international Association of
                                                                                                                                                         of Commercial Administrators
                                                                                                                                                                       Administrators (IACA)
    FILING OFFICE COPY —
           OFFICE COPY — UCC
                         UCC FINANCING
                             FINANCING STATEMENT AMENDMENT (FORM
                                       STATEMENT AMENDMENT (FORM UCC3) (REV.
                                                                       (REV. 05/22/02)




                                                                                                                                                                                                           KEA002042
     Case 4:20-cv-00341-CVE-SH Document 123 Filed in USDC ND/OK on 07/18/22 Page 59 of 64




    UCC FINANCING STATEMENT AMENDMENT
    FOLLOW INSTRUCTIONS (front
                        (front and
                               and back)
                                   back) CAREFULLY
                                         CAREFULLY
    A. NAME &
            & PHONE
              PHONE OF
                    OF CONTACT
                       CONTACT AT FILER [optional]
     Christian Cappello
    B. SEND ACKNOWLEDGMENT
            ACKNOWLEDGMENT TO.
                           TO. (Name
                               (Name and Address)


               FCalvary Arms Corporation
                 ATTN: Christian
                 ATTN:    Christian Cappello
                                    Cappello
                 723 W.
                     W. Commerce,
                         Commerce, Suite A
                 Gilbert, AZ 85233
                              85233


                                                                                                                                THE ABOVE SPACE IS
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         INITIAL FINANCING STATEMENT FILE #                                                                                                             lb,This
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                                                                                                                                                                  FINANCINGSTATEMENT
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     20081538465-9                                                                                                                                       Ljj REAL
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    2.       TERMLNATiON:    Effectiveness
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                                                                                                                        securityinterest(s)
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                                                                                                                                                                                                Statement.
    3.      CONTINUATION:           Effectiveness
            CONTINUATION: Effectiveness            of the
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                                                       Financing  Statement
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         — continued
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                      for the
                           the additional
                               additional period
                                           period provided
                                                  provided sy applicable law

    4.       ASSIGNMENT    (full
             ASSIGNMENT (full or or partial).
                                 partial).    Give
                                           Give name
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                                                         of assignee
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                                                                                                                                           name of
                                                                                                                                                of assignor
                                                                                                                                                   assignor in item 9.
    5. AMENDMENT
       AMENDMENT (PARTY
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                         INFORMATION):This
                                       ThisAmendment
                                            Amendment affects
                                                      affects 11
                                                              11 Debtor
                                                                 Debtor or                              D Seared
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                                               boxes and provide
                                                         provide appropriate information in items 6
                                                                                                  6 andfor 7.
             CHANGEnameandforaddress: Please
             CHANGEnameandforaddress: Please refertothedetailed
                                             refertothedetailed instructions                    El
                                                                                                El DELETE
                                                                                                     DELETEname:
                                                                                                               name: GiveGiverecord
                                                                                                                              record name              r7 ADD
                                                                                                                                                          ADD naire:  Completeitem
                                                                                                                                                              naire: Complete   item7a
                                                                                                                                                                                     7aoror7b,
                                                                                                                                                                                            7b, and
                                                                                                                                                                                                and also
                                                                                                                                                                                                    also item
                                                                                                                                                                                                         item 7c,
         Lj in regardstochanciinothe
               regardstochanciinothe name/address
                                     name/addressof
                                                  ofaa party.                                   Lj totobebedeleted
                                                                                                Lj          deletedininitem
                                                                                                                        item6a
                                                                                                                             6a or
                                                                                                                                or 6b
                                                                                                                                   6b                  l 1 1alsocomplete
                                                                                                                                                       l     alsocompleteitems7e-7g
                                                                                                                                                                           items7e-7gOfOfapplicable).
                                                                                                                                                                                         applicable).
    6. CURRENT
    6. CURRENT RECORD
                RECORD INFORMATION:
                         INFORMATION:
        Ea. ORGANIZATION'S NAME


    OR
    OR 6b.
        6b.INDIVIDUAL'S
            INDIVIDUAL'S LAST
                         LAST NAME                                                               FIRST NAME                                            II MIDDLE
                                                                                                                                                          MIDDLE NAME
                                                                                                                                                                 NAME                               SUFFIX



    7. CHANGED (NEW)
    7. CHANGED  (NEW) OR
                      OR ADDED
                         ADDED INFORMATION
                               INFORMATION
           7a. ORGANIZATION'S NAME
                              NAME


    OR
           7b. INDIVIDUAL'S LAST NAME                                                            FIRST NAME                                             MIDDLE NAME                                 SUFFIX


    7c. MAILING
        MAILING ADDRESS                                                                          CITY                                                   STATE       POSTAL CODE                     COUNTRY


    7d. SEE
        SEE INSTRUCTIONSADD'L INFO
                               INFORE
                                   RE Ile.
                                       Ile.TYPE
                                            TYPEOFOFORGANIZATION
                                                      ORGANIZATION                               7f, JURISDICTION OF ORGANIZATION                       7g. ORGANIZATIONAL ID 0, if any
                        ORGANIZATION
                        DEBTOR
                                       I                                                                                                                                                                 ri   NONE
    8. AMENDMENT
       AMENDMENT(COLLATERAL
                 (COLLATERALCHANGE):
                              CHANGE):  check
                                           checkonly
                                                 onlyone
                                                      one box
                                                          box
—        Describe collateral ❑ dale ed or ❑ added,
                               dale ed             or give
                                            added, or      entire Orestated
                                                      give entire Orestated collateral  description, or
                                                                             collateral description,  or describe
                                                                                                         describecollateral
                                                                                                                  collateral El
                                                                                                                             El assigned.
                                                                                                                                assigned.




    9. NAME
       NAME OF      SECURED PARTY
               OFSECURED           PARTY OF   OF RECORD AUTHORIZING
                                                                 AUTHORIZING THIS   THIS   AMENDMENT
                                                                                        AMENDMENT      (name(name
                                                                                                               of assignor,
                                                                                                                   of assignor,  if this
                                                                                                                            if this      is an
                                                                                                                                     is an  Assignment).
                                                                                                                                               Assignment).
                                                                                                                                                         If this  is an
                                                                                                                                                             If this     Amendment
                                                                                                                                                                     is an Amendmentauthorized
                                                                                                                                                                                      authorizedby
                                                                                                                                                                                                 byaaDebtor
                                                                                                                                                                                                     Debtor which
       adds collateral or adds the authorizing Debtor, or
                                                       or ififthis
                                                               thisIs
                                                                    IsaaTermination
                                                                        Terminationauthorized
                                                                                    authorized by
                                                                                               by a Debtor, check here       end enter
                                                                                                                                    enter name
                                                                                                                                           name of
                                                                                                                                                 of DEBTOR
                                                                                                                                                    DEBTOR authorizing
                                                                                                                                                                authorizingthis
                                                                                                                                                                            thisAmendment_
                                                                                                                                                                                 Amendment_
           9a. ORGANIZATION'S NAME


    OR
            CALVARY ARMS CORPORATION
                         CORPORATION
           9b INDIVIDUAL'S
               INDIVIDUAL'S LAST NAME                                                            FIRST NAME                                             MIDDLE NAME                                 SUFFIX


    10,OPTIONAL FILER
    10,OPTIONAL FILER REFERENCE
                      REFERENCE DATA



                                                                                                                              International Association of
                                                                                                                                                        of Commercial Administrators (IACA)
    FILING OFFICE
           OFFICE COPY
                  COPY — UCC FINANCING
                       — UCC FINANCING STATEMENT
                                       STATEMENT AMENDMENT
                                                 AMENDMENT (FORM
                                                           (FORM UCC3)
                                                                 UCC3) (REV. 05/22/02)




                                                                                                                                                                                                          KEA002043
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                 Exhibit 3
       2016-02-25 Letter from The
      Tactical Medic to KE Arms re
       Delivery of Blue Prints and
               Thumb Drive
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                                           Cavalry Medical LLC
                                         4811 E. Julep St. Suite 122
                                              Mesa, AZ 85205
                                              (480) 686-8844


                                                            February 25th, 2016

KE Arms
4343 E Magnolia St
Phoenix AZ 85034
Attn.: Mike

Mike,

As per the agreement we reached at your facility. I have delivered 2 boxes of
assorted “Blue prints” and one thumb drive of assorted CAD/CAM files. KE
Arms has agreed to compensate me for them with $1000.00 cash and
$9000.00 in credit on KE Arms products (at dealer price). I will do my best to
answer any future questions related to those files as well as any advice on
plastics related projects.



Thank You,




Shawn M. Nealon




                                                                   Armory-0118
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                 KE Arms, LLC                                                                                               Invoice
                 AZ 85034
                                                                                                                  Date           Invoice #
                                                                                                                11/3/2016         108305




       Bill To                                                                        Ship To

     Shawn Nealon                                                                   Shawn Nealon
     4811 E Julep St Suite 122                                                      4811 E Julep St Suite 122
     Mesa, AZ 85205                                                                 Mesa, AZ 85205




P.O. Number               Terms            Rep           Ship              Via                  F.O.B.                      Project

                          Website           RP        11/3/2016          Pick Up

Quantity            Item Code                              Description                                   Price Each             Amount
           12   1-50-03-416         Carbine Length Gas Tube (Stainless Steel)                                       10.36                124.32
           10   1-50-03-008         KE-15 UPPER RECEIVER                                                            89.95                899.50
           10   1-50-03-304         M16 BLACK BOLT CARRIER GROUP                                                    95.00                950.00
           10   1-50-01-329         CHARGING HANDLE                                                                 14.95                149.50
           15   1-50-01-007         FORGED 80% KE-15 LOWER (RAW)                                                    43.95                659.25
            5   1-50-02-007         FORGED 80% KE-308 LOWER (RAW)                                                   96.95                484.75
           25   1-50-01-035         Complete Buttstock Assembly                                                     54.95              1,373.75
           41   1-50-01-341         KE Arms AR-15 Enchanced Lower Reciever Parts Kit                                54.95              2,252.95
            2   1-50-01-510         Trigger Test Block                                                              49.95                 99.90
           11   1-50-03-402         Low Profile Gas Block 4130 Melonite 0.750" Diameter                             24.95                274.45
            1   1-50-03-417         Mid-Length Gas Tube (Stainless Steel) [KE Arms]                                 10.36                 10.36
           10   MISC                Ballistic Advantage M4 Barrel                                                  125.00              1,250.00
            1   DISCOUNT            Trade Discount for blueprints and part designs                              -8,528.73             -8,528.73
                                    Sales Tax - State and City                                                    8.60%                    0.00




                                                                                                    Total                                $0.00


                                                                                                                Armory-0210
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               Exhibit 4
     2012-02-14 Letter from Nealon
      to GWACS re Equipment for
             the CAV-15
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                TAM ICAL
                                         EoIC
                                                                           February 14th, 2012

   GWACS ARMORY LLC
   907 S DETROIT AVE
   TULSA, OK 74120



   Hello,

   I understand that you bought the equipment (molds, welder and press) for the CAV-15. I
   was the inventor of the product and did a lot of the mold work. I do not know what level
   of plastics experience your company has, so I thought I should introduce myself to you.
   The mold is less than ideal and short cuts were taken to keep the costs down.
   Aluminum tools are very delicate, but I was always confident I would be able to keep it
   running if a problem would come up. I am still on very friendly terms with most of the
   industry and several of the larger CAV-15 retailers are personal friends. If you need any
   help getting the product back into the market or have Molding issues, my services are
   available. Either way I wish you luck in this endeavor as I still believe it's a good product
   with a lot of potential.


   Sincerely,




   Shawn Nealon




                                                                                                   KEA002044
